Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 1 of 75 Page ID #:1515



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   9
                         THE UNITED STATES DISTRICT COURT
  10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11

  12

  13
       SETH SHAPIRO, an individual,          Case No: 2:19-cv-8972

  14                          Plaintiff,      FOURTH AMENDED CIVIL
                                              COMPLAINT
  15                    vs.
                                              DEMAND FOR JURY TRIAL
  16 AT&T MOBILITY, LLC,
     SEQUENTIAL TECHNOLOGY
  17 INTERNATIONAL, LLC., and PRIME
     COMMUNICATIONS, L.P.,
  18
                              Defendants.
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                                            -1-
                                 FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 2 of 75 Page ID #:1516



   1 I. NATURE OF THE ACTION

   2         1. This action arises out of the repeated failure of AT&T and its agents to protect
   3 its wireless cell service subscriber—Seth Shapiro—from its own employees and

   4 agents, resulting in massive and ongoing violations of Mr. Shapiro’s privacy, the

   5 compromise of his highly sensitive personal and financial information, and the theft of

   6 approximately $1,921,355.80 in cryptocurrency, valued at considerably more now due

   7 to the rise in values since the time of the theft.

   8         2. AT&T is one of the country’s largest wireless service providers. Tens of
   9 millions of subscribers entrust AT&T with access to their confidential information,

  10 including information that can serve as a key to unlock subscribers’ highly sensitive

  11 personal and financial information.

  12         3. Recognizing the harms that arise when wireless subscribers’ personal
  13 information is accessed, disclosed, or used without their consent, federal and state

  14 laws require AT&T to protect this sensitive information.

  15         4. AT&T also recognizes the sensitivity of this data, and promises its 150 million
  16 mobile subscribers that it will safeguard their private information – and particularly

  17 their data-rich SIM cards – from any unauthorized disclosure. AT&T promises it “will

  18 protect the privacy of our customers,” will “safeguard the privacy of [customers’]

  19 personal identifying information,” and “[will] not sell, trade or share [customers’]
  20 CPNI — including [their] calling records — with anyone outside of the AT&T family

  21 of companies or with anyone not authorized to represent us to offer our products or

  22 services, or to perform functions on our behalf except as may be required by law or

  23 authorized by [the customer].”1 AT&T repeatedly broke these promises.2

  24         5. In an egregious violation of the law and its own promises, and despite
  25   1
           “Privacy Policy,” AT&T, effective June 16, 2006,
  26 web.archive.org/web/20060618204925/http://www.att.com/privacy/policy/, attached hereto as Exhibit A.
       2
           On information and belief, the terms of AT&T’s Privacy Policy remained similar throughout the duration of
  27 his contract. See Exhibit A1, “Privacy Policy,” AT&T, effective May 2, 2017,
       https://web.archive.org/web/20180519020538/http://about.att.com/sites/privacy_policy/full
  28 _privacy_policy
                                                       -2-
                                            FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 3 of 75 Page ID #:1517



   1 advertising itself as a leader in technological development and as a cyber security-

   2 savvy company, AT&T and its representatives and agents repeatedly failed to protect

   3 Mr. Shapiro’s account and the sensitive data it contained. AT&T failed to implement

   4 sufficient data security systems and procedures and failed to supervise its own

   5 personnel, instead standing by as its employees used their position at the company to

   6 gain unauthorized access to Mr. Shapiro’s account in order to rob, extort, and threaten

   7 him in exchange for money.

   8     6. AT&T’s actions and conduct were a substantial factor in causing significant
   9 financial and emotional harm to Mr. Shapiro and his family. But for AT&T

  10 employees’, representatives’ and agents’ involvement in a conspiracy to rob Mr.

  11 Shapiro, and AT&T’s failure to protect Mr. Shapiro from such harm through adequate

  12 security and oversight systems and procedures, Mr. Shapiro would not have had his

  13 personal privacy repeatedly violated and would not have been a victim of SIM swap

  14 theft.

  15     7. Mr. Shapiro brings this action to hold AT&T accountable for its violations of
  16 federal and state law, and to recover for the grave financial and personal harm

  17 suffered by Mr. Shapiro and his family as a direct result of AT&T’s acts and

  18 omissions, as detailed herein.

  19 II. THE PARTIES
  20     8. Plaintiff Seth Shapiro is, and at all relevant times was, a resident of California.
  21 Mr. Shapiro currently resides in Torrance, CA, with his wife and two young children.

  22     9. Mr. Shapiro is a two-time Emmy Award-winning media and technology expert,
  23 author, and is an adjunct professor at the University of Southern California School of

  24 Cinematic Arts. He regularly advises Fortune 500 companies on business

  25 development in media and technology.

  26     10. Mr. Shapiro is a former AT&T wireless customer. He purchased a wireless cell
  27 phone plan from AT&T in Los Angeles, California in approximately 2006 for

  28 personal use and was an active, paying AT&T wireless subscriber at all times relevant
                                              -3-
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 4 of 75 Page ID #:1518



   1 to the allegations in this Complaint.

   2         11. Defendant AT&T Mobility, LLC (hereinafter, “AT&T”) is a Delaware limited
   3 liability corporation with its principal office or place of business in Brookhaven,

   4 Georgia. AT&T “provides nationwide wireless services to consumers and wholesale

   5 and resale wireless subscribers located in the United States or U.S. territories” and

   6 transacts or has transacted business in this District and throughout the United States. It

   7 is the second largest wireless carrier in the United States, with more than 153 million

   8 subscribers, earning $71 billion in total operating revenues in 2017 and $71 billion in

   9 2018. As of December 2017, AT&T had 1,470 retail locations in California.3

  10         12. AT&T provides wireless service to subscribers in the United States. AT&T is a
  11 “common carrier” governed by the Federal Communications Act (“FCA”), 47 U.S.C.

  12 § 151 et seq. AT&T is regulated by the Federal Communications Commission

  13 (“FCC”) for its acts and practices, including those occurring in this District.

  14         13. AT&T Inc., AT&T’s parent company, acknowledged in its 2018 Annual
  15 Report that its “profits and cash flow are largely driven by [its] Mobility business”

  16 and “nearly half of [the] company’s EBITDA (earnings before interest, taxes,

  17 depreciation and amortization) come from Mobility.”4

  18         14. Despite the importance of its mobility business, instead of focusing on ramping
  19 up security for its customers, AT&T Inc. instead went on an historic acquisition spree
  20 costing over $150 billion, acquiring: Bell South (including Cingular Wireless and

  21 Yellowpages.com), Dobson Communications, Edge Wireless, Cellular One,

  22 Centennial, Wayport, Qualcomm Spectrum, Leap Wireless, DirecTV, and Iusacell and

  23 NII Holdings (now AT&T Mexico). During the same period, AT&T’s mobile phone

  24 business was rated as the worst among major providers. Consumer Reports named it

  25 the “worst carrier” in 2010, and the next year, J.D. Power found AT&T’s network the

  26 least reliable in the country—a dubious achievement that it also earned in prior years.

  27

  28   3
           AT&T 2018 Annnual Report https://investors.att.com/financial-reports/annual-reports/2018.
       4
           Id.
                                                    -4-
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 5 of 75 Page ID #:1519



   1 Little wonder that its customers were the least happy of subscribers of the Big Four

   2 carriers according to the American Consumer Index. In the meantime, AT&T Inc.

   3 completed the $85.4 billion purchase of Time Warner Inc.—the owner of HBO,

   4 Warner Bros, CNN, Turner Broadcasting, Cartoon Network, Turner Classic Movies,

   5 TBS, TNT and Turner Sports.

   6     15. Defendant SEQUENTIAL TECHNOLOGY INTERNATIONAL, LLC
   7 (“Sequential”) is a Delaware Limited Liability Company with its principal place of

   8 business in New Jersey. Plaintiff is informed and believes and thereon alleges that

   9 Sequential acquired the assets and liabilities of Synchronoss Technologies Inc.

  10 (“Synchronoss”), which had contracted with AT&T contracted to provide call center

  11 services for AT&T’s mobile phone customers, and is thus legally responsible for the

  12 acts and omissions of Spring as alleged herein.

  13     16. Defendant PRIME COMMUNICATIONS, L.P. (“Prime”) is a Texas Limited
  14 Partnership with its principal place of business in Sugar Land, Texas. Plaintiff is

  15 informed and believes and thereon alleges that Prime is AT&T’s largest authorized

  16 dealer in the United States and provided call center services to AT&T. Plaintiff is

  17 informed and believes and thereon alleges that Prime acquired Spring

  18 Communications Holdings, Inc. (“Spring”) and all of its assets and liabilities, and is

  19 thus legally responsible for the acts and omissions of Spring as alleged herein.
  20     17. At all relevant times, Synchronoss and Spring were AT&T’s authorized
  21 representatives and agents and performed services for AT&T which were within the

  22 usual course of AT&T’s business.

  23     18. At all relevant times, AT&T dictated and controlled the manner and means by
  24 which Synchronoss and Spring performed their services for AT&T. On information

  25 and belief, AT&T entered into a master service agreement with Synchronoss and

  26 Spring which governed the terms and condition of AT&T’s relationship with

  27 Synchronoss and Spring, and which required the Synchronoss and Spring entities to

  28 strictly adhere to AT&T’s guidelines, protocols, policies, and procedures relating to
                                             -5-
                                  FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 6 of 75 Page ID #:1520



   1 customer service, including those relating to SIM swaps. Furthermore, AT&T

   2 controlled the security measures it implemented across its entire network operation

   3 (including its own call centers and third-party call centers), as well as the data

   4 accumulated across the entire network, to monitor, detect and prevent unauthorized

   5 SIM swaps.

   6         19. At all relevant times, Synchronoss and Spring employees identified themselves
   7 to Mr. Shapiro as “AT&T” rather than Synchronoss and Spring (at AT&T’s

   8 direction), had full access to and use of the AT&T customer database which enabled

   9 them to perform customer service functions (including SIM swaps), did not disclose

  10 that they were employed by Synchronoss and Spring, and were in essence de facto

  11 employees of AT&T, and at a minimum agents of AT&T at all relevant times.

  12 III. JURISDICTION AND VENUE

  13         20. This Court has jurisdiction over this matter under 28 U.S.C. § 1331 because
  14 this case arises under federal question jurisdiction under the Federal Communications

  15 Act (“FCA”). The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

  16 the state law claims because the claims are derived from a common nucleus of

  17 operative facts. The Court also has jurisdiction over this action pursuant to 28 U.S.C.

  18 § 1332 because Mr. Shapiro is a citizen of a different state than AT&T, Synchronoss

  19 and Spring.
  20         21. This Court has personal jurisdiction over AT&T and its contractors
  21 Synchroness and Spring because AT&T purposefully directs its conduct at California,

  22 transacts substantial business in California (including in this District), has substantial

  23 aggregate contacts with California (including in this District), engaged and is

  24 engaging in conduct that has and had a direct, substantial, reasonably foreseeable, and

  25 intended effect of causing injury to persons in California (including in this District),

  26 and purposely avails itself of the laws of California. AT&T had more than 33,000

  27 employees in California as of 2017, and 1,470 retail locations in the state.5Mr. Shapiro

  28   5
           “About Us,” AT&T California, supra at 1.
                                                      -6-
                                           FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 7 of 75 Page ID #:1521



   1 purchased his AT&T wireless plan in California, visited AT&T retail locations in

   2 California, and was injured in California by the acts and omissions alleged herein.

   3     22. In accordance with 28 U.S.C. § 1391, venue is proper in this District because a
   4 substantial part of the conduct giving rise to Mr. Shapiro’s claims occurred in this

   5 District and Defendant transacts business in this District. Mr. Shapiro purchased his

   6 AT&T wireless plan in this District and was harmed in this District, where he resided,

   7 by AT&T’s acts and omissions, as detailed herein.

   8 IV. ALLEGATIONS APPLICABLE TO ALL COUNTS

   9     23. As a telecommunications carrier, AT&T is entrusted with the sensitive wireless
  10 account information and personal data of millions of Americans, including Mr.

  11 Shapiro’s confidential and sensitive personal and account information. AT&T’s duties

  12 to safeguard customer information are non-delegable to any other entity, including its

  13 third-party call contractors such as Synchroness and Spring.

  14     24. Despite its representations to its customers and its obligations under the law,
  15 AT&T has failed to protect Mr. Shapiro’s confidential information. On at least four

  16 occasions between May 16, 2018 and May 18, 2019, AT&T employees,

  17 representatives and agents obtained unauthorized access to Mr. Shapiro’s AT&T

  18 wireless account, viewed his confidential and proprietary personal information, and

  19 transferred control over Mr. Shapiro’s AT&T wireless number from Mr. Shapiro’s
  20 phone to a phone controlled by third-party hackers in exchange for money. The

  21 hackers then utilized their control over Mr. Shapiro’s AT&T wireless number—

  22 including control secured through cooperation with AT&T employees—to access his

  23 personal and digital finance accounts and steal more than $1.9 million from Mr.

  24 Shapiro, which is valued much higher today because of the increase in cryptocurrency

  25 values.

  26     25. This type of telecommunications account hacking behavior is known as “SIM
  27 swapping.”

  28        A. SIM Swapping is a Type of Identity Theft Involving the Transfer of a
                                             -7-
                                  FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 8 of 75 Page ID #:1522



   1 Mobile Phone Number.

   2     26. A “SIM swap” is a relatively simple scheme, wherein a hacker gains control of
   3 a victim’s mobile phone number and service in order to intercept communications,

   4 including text messages, intended for the victim. The hackers then use that phone

   5 number as a key to access and take over the victim’s digital accounts, such as email,

   6 file storage, and financial accounts.

   7     27. Most cell phones, including the iPhone owned by Mr. Shapiro at the time of his
   8 SIM swaps, have internal SIM (“subscriber identity module”) cards. A SIM card is a

   9 small, removable chip that allows a cell phone to communicate with the wireless

  10 carrier and the carrier to know what subscriber account is associated with that phone.

  11 The connection between the phone and the SIM card is made by the carrier, which

  12 pairs each SIM card with the physical phone’s IMEI (“international mobile equipment

  13 identity”), which is akin to the phone’s serial number. Without a working SIM card

  14 and effective SIM connection, a phone typically cannot send or receive calls or text

  15 messages over the carrier network. SIM cards can also store a limited amount of

  16 account data, including contacts, text messages, and carrier information, and that data

  17 can help identify the subscriber.

  18     28. The SIM card associated with a wireless phone can be changed. If a carrier
  19 customer buys a new phone that requires a different sized SIM card, for example, the
  20 customer can associate his or her account with a new SIM card and the new phone’s

  21 IMEI by working with their cell phone carrier to effectuate the change. This allows

  22 carrier customers to move their wireless number from one cell phone to another and to

  23 continue accessing the carrier network when they switch cell phones. For a SIM card

  24 change to be effective, the carrier must authenticate the request and actualize the

  25 change. AT&T allows its employees to conduct SIM card changes for its customers

  26 remotely or in its retail stores.

  27     29. A SIM swap refers to an unauthorized and illegitimate SIM card change.
  28 During a SIM swap attack, the SIM card associated with the victim’s wireless account
                                              -8-
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 9 of 75 Page ID #:1523



   1 is switched from the victim’s phone to a phone controlled by a third party. This

   2 effectively moves the victim’s wireless phone—including access to incoming data,

   3 texts, and phone calls associated with the victim’s phone—from the victim’s phone to

   4 a phone controlled by the third party (also referred to herein as a “hacker”). The

   5 hacker’s phone then becomes the only phone associated with the victim’s carrier

   6 account, and the hacker receives all of the text messages and phone calls intended for

   7 the victim.6 Meanwhile, the victim’s phone loses its connection to the carrier network.

   8       30. Once hackers have control over the victim’s phone number, they can use that
   9 control to access the victim’s personal online accounts, such as email and banking

  10 accounts, through exploiting password reset links sent via text message to the now-

  11 hacker-controlled-phone or the two-factor authentication processes associated with the

  12 victim’s digital accounts. Two-factor authentication allows digital accounts to be

  13 accessed without a password, or allows the account password to be changed. One

  14 common form of two-factor authentication is text messaging. Rather than enter a

  15 password, the hacker requests that a password reset be sent to the mobile phone

  16 number associated with the account. Because the hacker now controls that phone

  17 number, the reset code is sent to them. The hacker can then log into, and change the

  18 password for, the victim’s email, financial and other accounts, allowing them to

  19 access the contents of the account.7
  20       31. The involvement of a SIM swap victim’s wireless carrier is critical to a SIM
  21 swap. In order for an unauthorized SIM swap to occur and for a SIM swap victim to

  22
       6
         As described by federal authorities in prosecuting SIM swap cases, SIM swapping enables hackers to “gain
  23
       control of a victim’s mobile phone number by linking that number to a subscriber identity module (‘SIM’)
  24   card controlled by [the hackers]—resulting in the victim’s phone calls and short message service (‘SMS’)
       messages being routed to a device controlled by [a hacker].” United States of America v. Conor Freeman, No.
  25   2:19-cr-20246-DPH-APP (E.D. Mich. Filed Apr. 18, 2019) (hereafter, “Freeman Indictment”), ECF. No. 1 ¶ 3
       (attached hereto as Exhibit B).
       7
  26     See, e.g., id. at ¶ 4 (“Once [hackers] had control of a victim’s phone number, it was leveraged as a gateway
       to gain control of online accounts such as the victim’s email, cloud storage, and cryptocurrency exchange
  27   accounts. Sometimes this was achieved by requesting a password-reset link be sent via [text messaging] to the
       device control by [hackers]. Sometimes passwords were compromised by other means, and [the hacker’s]
  28   device was used to received two-factor authentication (‘2FA’) message sent via [text message] intended for
       the victim.”).
                                                               -9-
                                             FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 10 of 75 Page ID #:1524



    1 be at any risk, the carrier must receive a request to change a victim’s SIM card and

    2 effectuate the transfer of the victim’s phone number from one SIM card to another.

    3     32. In Mr. Shapiro’s case, not only did AT&T employees, representatives and
    4 agents access his account and authorize changes to that account without Mr. Shapiro’s

    5 consent, but its employees actively profited from this unauthorized access by

    6 knowingly giving control over his phone number to hackers for the purposes of

    7 robbing him.

    8        B. AT&T Allowed Unauthorized Access to Mr. Shapiro’s Account Four
    9 Times Over the Course of Approximately One Year.

   10     33. On four occasions in 2018 and 2019, Mr. Shapiro was the victim of an
   11 unauthorized “SIM swap.”

   12     34. Between May 16, 2018 and May 18, 2019, AT&T employees, representatives
   13 and agents accessed Mr. Shapiro’s AT&T wireless account without his authorization,

   14 obtained his confidential and proprietary personal information, and sold that

   15 information to third parties who then used it to steal from Mr. Shapiro, access his

   16 sensitive and confidential information, and threaten his family.

   17               The First SIM swap (May 16, 2018)
   18     35. On May 16, 2018 at approximately 1:35 PM ET, Mr. Shapiro’s AT&T SIM
   19 card was changed without his knowledge or authorization for the first time. On
   20 information and belief, the first SIM swap was conducted by an employee or agent of

   21 AT&T agent Synchronoss.

   22     36. At the time of the SIM swap, Mr. Shapiro was attending a conference in New
   23 York City. He noticed that his AT&T cell phone had lost service. Mr. Shapiro’s

   24 device was no longer connected to the AT&T wireless network, and he was no longer

   25 able to place or receive wireless calls.

   26     37. Mr. Shapiro immediately suspected that a SIM swap attack was underway and
   27 called AT&T to secure his account. Mr. Shapiro informed the AT&T customer service

   28 agent that he suspected his account had been accessed without authorization and that
                                             - 10 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 11 of 75 Page ID #:1525



    1 he was in possession of large amounts of digital currency, which he feared could be at

    2 risk.

    3         38. During his call with AT&T, Mr. Shapiro repeatedly asked to speak to upper
    4 management or to be connected to the AT&T department responsible for security.

    5 AT&T records confirm Mr. Shapiro’s request to speak to the fraud department. Mr.

    6 Shapiro was (incorrectly) told that no such department existed, and his call was never

    7 escalated to management. Instead, he was put on lengthy holds and ultimately told to

    8 turn off his phone and go to an AT&T retail location for further assistance. His AT&T

    9 service was then suspended.

   10         39. Immediately upon ending the call with AT&T’s customer service, Mr. Shapiro
   11 went to an AT&T retail store in Manhattan, New York.8 On information and belief,

   12 the store was owned and operated by AT&T. Upon arriving, Mr. Shapiro informed

   13 AT&T employees, representatives and agents —including an AT&T sales

   14 representative, Juneice Arias—that he suspected unauthorized SIM swap activity on

   15 his account and once again advised that he had confidential information and digital

   16 currency at risk.

   17         40. AT&T employees, representatives and agents told Mr. Shapiro at that time that
   18 they had noted the SIM swap activity in his account. Mr. Shapiro implored AT&T for

   19 its assurance that it would not allow his mobile phone number to be swapped out
   20 again because the financial life or death of his family was at stake. An AT&T

   21 employee, representative and agent assured him that they were monitoring his account

   22 and that his SIM card would not be swapped again without his authorization. On this

   23 assurance, Mr. Shapiro decided not to close his AT&T account.

   24         41. AT&T employees, representatives and agents advised Mr. Shapiro to purchase
   25 a new wireless phone with a new SIM card from AT&T. AT&T employees,

   26 representatives and agents assured Mr. Shapiro that purchasing a new wireless phone

   27
        8
            This AT&T retail store is located at 1330 Avenue of the Americas, New York, NY 10019, and is listed on
   28 the att.com corporate website as an “AT&T” store.
                                                      - 11 -
                                            FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 12 of 75 Page ID #:1526



    1 with a new SIM card would secure his account and prevent additional SIM swap

    2 attacks. In reliance on this assurance, Mr. Shapiro purchased a new iPhone for several

    3 hundred dollars, as well as a new SIM card, in the AT&T retail store.9 AT&T

    4 employees then activated the new phone and the new SIM card and restored Mr.

    5 Shapiro’s service, thereby allowing Mr. Shapiro to regain control over his AT&T cell

    6 phone number.

    7                     The Second SIM Swap (May 16, 2018)
    8         42. Mere minutes later—while Mr. Shapiro was still in the AT&T retail store—Mr.
    9 Shapiro’s AT&T account was again improperly accessed, and the SIM card associated

   10 with his phone number was changed. Mr. Shapiro again lost control over his AT&T

   11 cell phone number. On information and belief, the first SIM swap was conducted by

   12 an employee or agent of AT&T agent Synchronoss.

   13         43. Mr. Shapiro immediately informed AT&T employees, representatives and
   14 agents that AT&T had once again allowed an unauthorized SIM swap. Employees

   15 informed him that he needed to wait until it was his turn to be assisted.

   16         44. Mr. Shapiro waited for approximately 45 minutes inside the AT&T retail store
   17 for help from AT&T employees, representatives and agents. In that time, third-party

   18 individuals were able to use their control over Mr. Shapiro’s AT&T cell phone

   19 number to access Mr. Shapiro’s personal and financial accounts and rob him of
   20 approximately $1.9 million (and valued much higher today because of the increase in

   21 cryptocurrency values), all while Mr. Shapiro stood helplessly in the AT&T store

   22 asking for the company’s help.

   23         45. While third parties had control over Mr. Shapiro’s AT&T wireless number,
   24 they used that control to access and reset the passwords for Mr. Shapiro’s email

   25 accounts, applications, and accounts on cryptocurrency exchange platforms, including

   26 KuCoin, Bittrex, Wax, Coinbase, Huobi, Crytopia, LiveCoin, HitBTC, Coss.io, Liqui,

   27 and Bitfinex. Cryptocurrency exchanges are online platforms where different forms of

   28   9
            “Privacy Policy,” AT&T, supra, attached hereto as Exhibit A.
                                                       - 12 -
                                             FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 13 of 75 Page ID #:1527



    1 cryptocurrency (e.g. bitcoin) are bought and sold.

    2        46. Before the May 2018 SIM swaps, Mr. Shapiro had raised funds in the form of
    3 cryptocurrency for a new business venture. This capital, as well as Mr. Shapiro’s

    4 personal funds, was accessed by the hackers utilizing their control over Mr. Shapiro’s

    5 AT&T wireless number, although the business funds were stored separately from Mr.

    6 Shapiro’s personal funds.

    7        47. By utilizing their control over Mr. Shapiro’s AT&T cell phone number—and
    8 the control of additional accounts (such as his email) secured through that number by

    9 utilizing two factor authentication—these third-party hackers were able to access Mr.

   10 Shapiro’s accounts on various cryptocurrency exchange platforms, including the

   11 accounts he controlled on behalf of his business venture. The hackers then transferred

   12 Mr. Shapiro’s currency from Mr. Shapiro’s accounts into accounts that they

   13 controlled.10 In all, they stole more than $1.9 million from Mr. Shapiro in the two

   14 consecutive SIM swap attacks on May 16, 2018, which is valued much higher today

   15 because of the increase in cryptocurrency values.

   16        48. On information and belief, the hackers also utilized their control over Mr.
   17 Shapiro’s AT&T wireless number to access and steal Mr. Shapiro’s currency on

   18 cryptocurrency exchanges (including Liqui.io, Livecoin, and Huobi) to which Mr.

   19 Shapiro was never able to regain access.
   20        49. The hackers also used their control over Mr. Shapiro’s AT&T cell phone
   21 number to access and change the passwords for approximately 15 of Mr. Shapiro’s

   22 online accounts, including four email addresses, his Evernote account (a web

   23 application for taking notes and making task lists), and his PayPal account (a digital

   24 payment platform).

   25        50. It took Mr. Shapiro approximately 14 hours to regain access to and restore
   26   10
        See Affidavit for Search Warrant, Florida v. Ricky Handschumacher, No. 18-cf-4271-AXWS (6th Dist. Fl.
      July 25, 2018) (attached hereto as Exhibit C) at p. 8 (explaining how hackers—including hackers involved in
   27 robbing Mr. Shapiro—would “gain access to the victim’s email accounts and cryptocurrency exchanges . . .
      [and] use the victim’s funds to purchase cryptocurrencies and transfer it to a accounts [sic] or wallets the
   28 [hackers] controlled.”). Due to the nature of cryptocurrency, this process makes it extremely difficult to track
      and seize the location of stolen cryptocurrency.
                                                            - 13 -
                                           FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 14 of 75 Page ID #:1528



    1 control over his email and other personal accounts. By then, however, the damage was

    2 done: these accounts, and all of their contents, had already been compromised.

    3         51. Criminal investigations into the May 2018 breaches to Mr. Shapiro’s AT&T
    4 account and the resulting theft revealed that at least two AT&T employees,

    5 representatives and agents, acting in the scope of their employment and agency,

    6 accessed and permitted others to access Mr. Shapiro’s AT&T account and the

    7 confidential information contained therein.11 As federal authorities describe, “These

    8 employees, while not necessarily knowing the entirety of [the hackers] plans, were

    9 aware that they were assisting in the theft of identities of subscribers to their

   10 employer’s services.”12

   11         52. The two AT&T employees, representatives and agents involved, Robert Jack
   12 and Jarratt White,13 reside in Arizona. AT&T confirmed their status as employees,

   13 representatives or agents ,14 their involvement in the unauthorized access of Mr.

   14 Shapiro’s account,15 and their involvement in the two SIM swaps that occurred on

   15 May 16, 2018.

   16         53. Specifically, criminal investigations reveal that a third-party (an individual
   17 identified by authorities as “JD”) paid Jack and White to change the SIM card

   18 associated with Mr. Shapiro’s AT&T account from the SIM card in Mr. Shapiro’s

   19 phone to a SIM card in a phone controlled by JD and others.16
   20         54. In order to effectuate the swaps, Jack and/or White used their access to Mr.
   21 Shapiro’s account—access gained through their AT&T employment—to view his

   22 confidential AT&T account information and effectuate the SIM swaps without Mr.

   23
        11
             See Criminal Complaint & Affidavit, United States of America v. Jarratt White, No. 2:19-mj- 30227-
   24 DUTY (E.D. Mich. Filed May 2, 2019) (hereafter, “White Affidavit”), ECF No. 1 (attached hereto as Exhibit
        D).
   25   12
          Id. ¶ 8.
      13
         Id. ¶¶ 10-15 (describing White’s involvement in the unauthorized access of Mr. Shapiro’s
   26 AT&T account and the resulting theft) and ¶¶ 16-19 (describing Jack’s involvement).
      14
         Id. ¶ 15 (“AT&T confirmed that WHITE was a contract employee from Tucson, Arizona.”) and ¶
   27 16 (“Based on records provided from AT&T, ROBERT JACK, a second AT&T contract employee
      from Tucson, Arizona . . . .”)
   28 15 Id. ¶¶ 11, 15-16.
        16
             Id. ¶¶ 11, 16-19.
                                                       - 14 -
                                             FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 15 of 75 Page ID #:1529



    1 Shapiro’s knowledge or consent.

    2        55. JD paid White $4,300 in exchange for White using his position, knowledge,
    3 and authority as an AT&T employee, representative and agent to conduct SIM swaps,

    4 including the May 16, 2018 SIM swaps of Mr. Shapiro.17 White then paid Jack

    5 $585.25 for his involvement in the swaps.18

    6        56. On information and belief, AT&T data shows that White and Jack were prolific
    7 SIM swappers. White conducted 29 unauthorized SIM swaps in May 2018,19 while

    8 Jack conducted 12 unauthorized swaps that same month.20

    9        57. Criminal investigations have also identified the AT&T employees’,
   10 representatives’ and agents’ third-party co-conspirators and revealed additional

   11 information about the employees’, representatives’ and agents’ involvements in the

   12 scheme.

   13        58. For example, police officers located documents on the computer of one co-
   14 conspirator hacker (identified as “CS1”) labeled “ATT Plug.”21 In the SIM swap

   15 context, a “plug” is a telecommunication carrier employee who uses their knowledge

   16 and access to assist in SIM swaps.

   17        59. Investigators were also able to obtain a log of a chat conversation held online
   18 between the third-party co-conspirator hackers, wherein they plotted and executed the

   19 theft of Mr. Shapiro’s currency.22
   20        60. The chat begins with the group discussing working with an AT&T employee,
   21 representative and agent to access Mr. Shapiro’s AT&T wireless account and swap his

   22 SIM card. At 1:19 PM on May 16, 2018, one member of the group asks, “What is plug

   23 doing[?]”23On information and belief, this refers to the group’s AT&T plug: White

   24 Jack. The same member requests at 1:31 that another member “message [the plug] and

   25
        17
         Id. ¶¶ 11-12.
   26   18
         Id. ¶ 19.
      19
         Id. ¶ 15.
   27 20 Id. ¶ 16.
      21
         Ex. B at p. 7.
   28 22 Id. at Attachment A.
      23
         Id. at Attachment A, p. 1.
                                                - 15 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 16 of 75 Page ID #:1530



    1 tell him hurry up[.]”24

    2        61. Beginning at 1:38, a member informs the group that the plug is “doing it [right
    3 now]” and then: “It’s activated.”25 On information and belief, this refers to Mr.

    4 Shapiro’s AT&T account being activated on a phone utilized by the hackers – the

    5 result of a successful SIM swap effectuated by one or more of the involved AT&T

    6 employees, representatives and agents.

    7        62. Once the SIM swap was complete, the group began using their control over
    8 Mr. Shapiro’s AT&T wireless number to access his personal and financial accounts.

    9 At 1:58 and 2:10 PM, the chat log shows the group using Mr. Shapiro’s number

   10 (which they share over the chat) to access and reset the passwords for his email

   11 accounts.26

   12        63. At 2:18 PM, the chat log shows the group accessing Mr. Shapiro’s Bittrex
   13 account and withdrawing his digital currency.27

   14        64. The individuals would not have been able to access these accounts but for their
   15 utilization of Mr. Shapiro’s cell phone number, control of which was obtained through

   16 the use of AT&T’s employees, representatives and agents and systems.

   17        65. Throughout the chat, the group refers to an additional male individual—the
   18 AT&T plug—helping them access Mr. Shapiro’s account. At 3:11 PM, one member

   19 brags, “my ATT (AT&T) guy . . . Is a supervisor . . . He ain’t ever getting fired.”28
   20        66. The chat also reflects Mr. Shapiro’s attempt to regain control of his AT&T
   21 account. At 3:39, one member warns that Mr. Shapiro is “trying to get number

   22 back.”29 Another—referring to the AT&T co-conspirator—ask whether he wants

   23 “[his] guy to swap it back?”30 At the end of the chat, a group member brags that they

   24 “made 1.3 [million]” and they begin plotting about how to route the stolen

   25
        24
         Id. at Attachment A, p. 2.
   26   25
         Id. at Attachment A, pp. 2-5.
      26
         Id. at Attachment A, pp. 5-6
   27 27 Id. at Attachment A, p. 6.
      28
         Id. at Attachment A, p. 7 (emphasis added).
   28 29 Id. at Attachment A. p. 8.
      30
         Id.
                                                   - 16 -
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 17 of 75 Page ID #:1531



    1 cryptocurrency through various accounts and currencies in order to cover their trail.31

    2 They also brag about plans to “buy some Gucci” or a “dream car” with the money

    3 they stole from Mr. Shapiro.32

    4        67. As these hackers and AT&T employees, representatives and agents stole Mr.
    5 Shapiro’s life savings and made plans to spend it on luxury goods, Mr. Shapiro was

    6 still standing in the AT&T retail store in Manhattan, NY, asking AT&T for help. He

    7 was told to wait as his accounts were drained and his personal information

    8 compromised.

    9        68. After the May 2018 SIM swaps, AT&T employees, representatives and agents
   10 told Mr. Shapiro that his account would be safe from future attacks because they had

   11 put a note on his account that would prevent any future SIM swaps.

   12        69. Mr. Shapiro also changed his AT&T account passcodes on the advice of
   13 AT&T employees, representatives and agents. AT&T informs its customers that these

   14 account passcodes— which are different than account sign-in passwords or the

   15 passcodes used to access a wireless device—are used to protect their wireless accounts

   16 and may be required when a customer manages their AT&T account online or in an

   17 AT&T store.33 AT&T employees, representatives and agents represented to Mr.

   18 Shapiro that this passcode would not be shared with anyone, and would protect his

   19 account from future unauthorized SIM swaps. Mr. Shapiro decided not to close his
   20 AT&T account in reliance on these assurances.

   21                 The Third SIM swap (November 1, 2018)
   22        70. Mr. Shapiro’s trust in AT&T was misplaced. On November 1, 2018, Mr.
   23 Shapiro again noticed that his cell phone had lost service and suspected a SIM swap.

   24 Shortly thereafter, he received an alert that someone had accessed and changed the

   25 password to—at minimum—his Google email accounts. This also caused all

   26 information stored in this account—including sensitive and confidential personal,

   27   31
         Id. at Attachment A. p. 10.
        32
         Id. at Attachment A. p. 9.
   28 33 “Get info on passcodes for wireless accounts,” AT&T,
      https://www.att.com/esupport/article.html#!/wireless/KM1049472?gsi=tp3wtr.
                                                          - 17 -
                                          FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 18 of 75 Page ID #:1532



    1 financial, and legal information—to be compromised.

    2         71. Mr. Shapiro contacted AT&T and confirmed that he had indeed been SIM
    3 swapped a third time. Again, AT&T employees, representatives and agents

    4 represented to Mr. Shapiro that they had taken steps to prevent any further SIM swaps

    5 on his account. On information and belief, the third SIM swap was conducted by

    6 AT&T agent Spring, which was thereafter acquired by Defendant Spring.

    7         72. On May 14, 2019, Mr. Shapiro received a letter from AT&T’s Director of
    8 Compliance, Nena M. Romano, informing him that “an employee of one of [AT&T’s]

    9 service providers accessed [Mr. Shapiro’s] Customer Proprietary Network

   10 Information [CPNI] without authorization.”34 The letter did not indicate which of the

   11 three prior SIM swap attacks it concerned. It stated that AT&T had “taken appropriate

   12 action” regarding the AT&T employee, representatives and agents involved and had

   13 “notified federal law enforcement concerning the unauthorized access of your CPNI

   14 as required by Federal Communications Commission regulations.”

   15                    The Fourth SIM swap (May 18, 2019)
   16         73. Despite these assertions, Mr. Shapiro was SIM swapped for a fourth time on
   17 May 18, 2019, at approximately 10:45 PM. Again, Mr. Shapiro lost AT&T service

   18 and begun receiving alerts that the passwords for his personal digital accounts had

   19 been changed.
   20         74. Mr. Shapiro immediately contacted AT&T customer service. After several long
   21 holds and Mr. Shapiro’s repeated requests, his call was elevated to an AT&T

   22 supervisor. The supervisor, Marcus35 informed Mr. Shapiro that he had been SIM

   23 swapped again but refused to tell Mr. Shapiro who had authorized the swap. On

   24 information and belief, the fourth SIM swap was conducted by AT&T agent Spring,

   25 which was thereafter acquired by Defendant Spring.

   26         75. Mr. Shapiro asked the supervisor why the secret passcode that AT&T had
   27 promised him would protect his account failed to provide that protection. The AT&T

   28   34
             Attached hereto as Exhibit E.
        35
             The AT&T employees with whom Mr. Shapiro spoke refused to provide their last names.
                                                        - 18 -
                                           FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 19 of 75 Page ID #:1533



    1 supervisor refused to provide an answer.

    2     76. The supervisor then informed Mr. Shapiro that he would request that his
    3 AT&T account be transferred back to Mr. Shapiro’s phone. He estimated this would

    4 take between 2 and 4 hours. Meanwhile—upon information and belief— hackers

    5 continued to have control over his AT&T wireless account throughout that time, and

    6 used that control to access his personal and financial accounts.

    7     77. Mr. Shapiro repeatedly asked the supervisor to escalate his call to a higher
    8 authority at AT&T. Eventually, he was transferred to an AT&T manager, Tom. The

    9 manager informed him that in order to “reverse the unauthorized SIM card change,”

   10 he would need to “file a ticket” to submit a reversal request—which “normally

   11 completes within 2 to 4 hours.” He told Mr. Shapiro that he would sever the line in the

   12 meantime. It took the manager several minutes to “process” the ticket requesting a

   13 reversal. He then informed Mr. Shapiro that AT&T would send a pin code to another

   14 active line on his AT&T account to validate the reversal request. This required Mr.

   15 Shapiro to get his 12-year-old daughter out of bed, after midnight, to use her phone to

   16 receive the pin code. The manager told Mr. Shapiro they would “investigate” how his

   17 “account got compromised.”

   18     78. During this attack, Mr. Shapiro’s Yahoo, Google, Windows, PayPal, Coinbase,
   19 and Evernote accounts—at minimum—were accessed and their contents
   20 compromised. The hacker changed the passwords on his Evernote, PayPal, Coinbase,

   21 and Gmail accounts (temporarily locking Mr. Shapiro out of the accounts), changed

   22 the recovery email for his Gmail account to an email they controlled, and deleted his

   23 Gmail security question. This also caused all information stored in these accounts—

   24 including sensitive and confidential person, financial, and legal information—to be

   25 compromised.

   26     79. On July 19, 2019, Mr. Shapiro received another letter from AT&T’s Director
   27 of Compliance, Nena M. Romano, informing him that, once again, “an employee of

   28 one of [AT&T’s] service providers accessed [Mr. Shapiro’s] Customer Proprietary
                                             - 19 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 20 of 75 Page ID #:1534



    1 Network Information (CPNI) without authorization.”36 The letter did not indicate

    2 which of the four SIM swap attacks it concerned. It stated that AT&T had “taken

    3 appropriate action” regarding the AT&T employee, representative and agent involved

    4 and had “notified federal law enforcement concerning the unauthorized access of your

    5 CPNI as required by Federal Communications Commission regulations.”

    6         80. On September 6, 2019, Mr. Shapiro received a third letter from Ms. Romano,
    7 informing him that “an unknown and unauthorized person gained access to [Mr.

    8 Shapiro’s] Customer Proprietary Network Information (CPNI) without

    9 authorization.”37 Once again, the letter did not indicate which of the four SIM swap

   10 attacks it concerned. It stated that AT&T had “moved quickly to disable system access

   11 to the unauthorized person” and had “notified federal law enforcement concerning the

   12 unauthorized access of your CPNI as required by Federal Communications

   13 Commission regulations.”

   14         81. The SIM swaps have exposed Mr. Shapiro and his family to ongoing threats of
   15 physical harm and extortion. On February 10, 2019, Mr. Shapiro received—on the

   16 same AT&T wireless line that had been hacked—text message threats from an

   17 anonymous individual (set forth below in Figure 1).

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   28   36
             Attached hereto as Exhibit F.
        37
             Attached hereto as Exhibit G.
                                                       - 20 -
                                             FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 21 of 75 Page ID #:1535



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   23                    Text message threats from an anonymous individual

   24
                                 as a result of the unauthorized SIM swap

   25
           82. This individual knew Mr. Shapiro’s name and AT&T wireless number and

   26
        warned that they had “access to all of [his] sensitive personal information[.]” The

   27
        harasser also threatened an additional SIM swap and informed Mr. Shapiro that they

   28
        still had access to AT&T employees, representatives and agents who would aid them

                                              - 21 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 22 of 75 Page ID #:1536



    1 in further harm against Mr. Shapiro. Specifically, they warned that they had “an

    2 AT&T rep ready to hand over [Mr. Shapiro’s] account to [them] at any given time[.]”

    3 They warned that they knew where Mr. Shapiro and his family lived—and sent his

    4 exact current address (redacted below)—and demanded $800 to prevent harm to Mr.

    5 Shapiro and his family.

    6     83. After Mr. Shapiro received these threats, a sergeant at the Santa Clara County
    7 Sherriff’s Office informed Mr. Shapiro that he had personally contacted AT&T to

    8 inform them of the threats and requested that they monitor Mr. Shapiro’s accounts.

    9 Despite this warning, Mr. Shapiro’s account was authorized without his consent, and

   10 his SIM card swapped, approximately 3 months later.

   11     84. The financial and personal lives of Mr. Shapiro and his family have been
   12 devastated as a result of AT&T’s failure to safeguard Mr. Shapiro’s account.

   13     85. As a result of the May 2018 hacks detailed above, Mr. Shapiro lost more than
   14 $1.9 million in digital currency, valued much higher today because of the increase in

   15 cryptocurrency values. This money included the entirety of the profits from the sale of

   16 Mr. Shapiro’s family home and his life savings.

   17     86. The financial strain resulting from the robbery of Mr. Shapiro has caused
   18 extreme anxiety and distress for Mr. Shapiro and his family.

   19     87. Mr. Shapiro’s wife, who previously took full time care for their young child,
   20 has had to return to work due to the financial strain and pressure. As a consequence of

   21 the SIM swap attacks, she has suffered from anxiety, emotional distress, and loss of

   22 sleep and has had less time to see to the needs of her children.

   23     88. Mr. Shapiro’s two children have also suffered. Mr. Shapiro had to undertake
   24 the difficult task of explaining the theft to his four-year-old child, who now expresses

   25 fear of hackers and robbers and feelings of instability. The Shapiros also have a

   26 medically fragile child, who has suffered emotional distress as a result of the financial

   27 and emotional strain on the family. Both children require medical treatment as a result

   28 of the SIM swap attacks, and Mr. Shapiro has had to pay for that treatment out of
                                             - 22 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 23 of 75 Page ID #:1537



    1 pocket.

    2        89. Mr. Shapiro has experienced immense harm as a result of the SIM swaps. He
    3 has suffered from anxiety, loss of sleep, and extreme depression. The emotional and

    4 financial consequences have also caused marital stress. Mr. Shapiro has had to seek

    5 extended professional medical help as a result.

    6        90. The digital currency stolen during the SIM swap attacks also included
    7 cryptocurrency raised by Mr. Shapiro for a business venture. As a result of the theft,

    8 Mr. Shapiro had to end the venture and lay off all employees. He intends to repay each

    9 of the investors the amount they invested in the project which was stolen during the

   10 SIM swap attacks. He also suffered professional reputational damages when the

   11 venture ended, and investments were lost as a result of the theft.

   12        91. Mr. Shapiro and his family’s highly sensitive and confidential personal, legal,
   13 and business information have also been compromised as a result of the SIM swaps.

   14 This includes color copies of their passports, their social security numbers, their TSA

   15 numbers, password and log-in information for additional accounts, and confidential

   16 financial, business, and legal information. All of this information is now at a high risk

   17 of being posted or bought and sold on the dark web by criminals and identity thieves,

   18 putting Mr. Shapiro, his wife, and two young children at ongoing risk of significant

   19 privacy violations, extortion, identity theft, and countless unknown harms.
   20           C. AT&T’s Repeated Failures to Protect Mr. Shapiro’s Account from
   21 Unauthorized Access Are a Violation of Federal Law.

   22        92. AT&T is the world’s largest telecommunications company and provider of
   23 mobile telephone services. As a common carrier,38 AT&T is governed by the Federal

   24 Communications Act of 1934, as amended (“FCA”),39 and corresponding regulations

   25 passed by the FCC.40

   26        93. Recognizing the sensitivity of data collected by cell carriers, Congress, through
   27
        38
           47 U.S. Code § 153(51).
   28   39
           47 U.S.C. § 151 et seq.
        40
           47 C.F.R. § 64.2001 et seq.
                                                   - 23 -
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 24 of 75 Page ID #:1538



    1 the FCA, requires AT&T to protect Mr. Shapiro’s sensitive personal information to

    2 which it has access as a result of its unique position as a telecommunications carrier.41

    3         94. Section 222 of the FCA, which became part of the Act in 1996, requires AT&T
    4 to protect the privacy and security of information about its customers. Likewise,

    5 Section 201(b) of the Act requires AT&T’s practices related to the collection of

    6 information from its customers to be “just and reasonable” and declares unlawful any

    7 practice that is unjust or unreasonable.42

    8         95. AT&T’s most specific obligations to protect its customers concerns a specific
    9 type of information, called CPNI.43 CPNI is defined as “information that relates to the

   10 quantity, technical configuration, type, destination, location, and amount of use of a

   11 telecommunications service subscribed to by any customer of a telecommunications

   12 carrier, and that is made available to the carrier by the customer solely by virtue of the

   13 carrier-customer relationship; and . . . information contained in the bills pertaining to

   14 telephone exchange service or telephone toll service received by a customer of a

   15 carrier.”44

   16         96. The FCA recognizes the privacy interest in CPNI and “requires
   17 telecommunications carriers to take specific steps to ensure that CPNI is adequately

   18 protected from unauthorized disclosure.”45

   19         97. Carriers such as AT&T are liable for failures to protect their customers’
   20 unauthorized disclosures.46 The FCC has also stated that “[t]o the extent that a

   21 carrier’s failure to take reasonable precautions renders private customer information

   22 unprotected or results in disclosure of individually identifiable CPNI, . . . a violation

   23

   24
        41
             47 U.S.C. § 222.
        42
   25    47 U.S.C. § 201(b).
        43
         47 U.S.C. § 222(a).
   26 44 47 U.S.C. § 222(h)(1).
        45
             Report and Order and Further Notice of Proposed Rulemaking, In the Matter of
   27 Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’ Use of Customer
        Proprietary Network Information and Other Customer Information, 22 F.C.C. Rcd. 6927 ¶ 1 (April 2, 2007)
   28 (hereafter, “2007 CPNI Order”).
        46
             47 U.S.C. §§ 206, 207.
                                                      - 24 -
                                            FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 25 of 75 Page ID #:1539



    1 of section 222 may have occurred.”47

    2        98. As AT&T admitted to Mr. Shapiro in its three letters, 48 his CPNI was breached
    3 by AT&T employees, representatives and agents or “unknown and unauthorized

    4 person[s]” when they accessed his account and swapped his SIM card without

    5 authorization. In each letter, AT&T informed Mr. Shapiro that “an employee of one of

    6 [its] service providers accessed [his] Customer Proprietary Network Information

    7 (CPNI) without authorization.”49

    8        99. When employees, representatives and agents accessed Mr. Shapiro’s account,
    9 his CPNI was visible. On information and belief, this includes, but was not limited to,

   10 information about the configuration, type, and use of his subscribed AT&T services,

   11 his personal information, his SIM card details, and his billing information. AT&T

   12 employees, representatives and agents then used this information to effectuate an

   13 unauthorized SIM swap.

   14        100. This type of unauthorized use of Mr. Shapiro’s CPNI is illegal under the
   15 FCA. The FCA forbids AT&T from “us[ing], disclos[ing], or permit[ting] access to”

   16 CPNI, except in limited circumstances.50 As AT&T admitted in its May 2019 letter,

   17 this extends to the carrier’s own employees, representatives and agents.

   18        101. AT&T may only use, disclose, or permit access to Mr. Shapiro’s CPNI: (1) as
   19 required by law; (2) with his approval; or (3) in its provision of the
   20 telecommunications service from which such information is derived, or services

   21 necessary to or used in the provision of such telecommunications service.51 Beyond

   22 such use, “the Commission’s rules require carriers to obtain a customer’s knowing

   23 consent before using or disclosing CPNI.”52

   24
        47
   25     Declaratory Ruling, In the Matter of Implementation of the Telecommunications Act of 1996:
        Telecommunications Carriers’ Use of Customer Proprietary Network Information & Other
   26 Customer Information, 28 F.C.C. Rcd. 9609 ¶ 30 (2013) (hereafter, “2013 CPNI Order”).
        48
         See. Exs. E & F.
   27   49
         Id.
      50
         47 U.S.C. § 222(c)(1).
   28 51 47 U.S.C. § 222.
      52
         2007 CPNI Order ¶ 8 (emphasis added).
                                                  - 25 -
                                        FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 26 of 75 Page ID #:1540



    1         102. AT&T failed to protect Mr. Shapiro from authorized use of his CPNI. AT&T
    2 permitted its employees, representatives and agents to use and/or disclose Mr.

    3 Shapiro’s CPNI without obtaining Mr. Shapiro’s knowing consent beforehand. AT&T

    4 employees, representatives and agents, acting within the scope of their employment,

    5 likewise did not seek Mr. Shapiro’s knowing consent before using, disclosing, and/or

    6 permitting access to his CPNI when they accessed his account and swapped his SIM

    7 card. Because such conduct does not fit within the FCA’s recognized legitimate uses,

    8 it constitutes a violation of the FCA.

    9         103. Pursuant to the FCA, the FCC has developed comprehensive rules concerning
   10 AT&T’s obligations under its duty to protect customers’ CPNI.53 This includes rules

   11 “designed to ensure that telecommunications carriers establish effective safeguards to

   12 protect against unauthorized use or disclosure of CPNI.”54 The FCC specifically

   13 recognizes that “[a]bsent carriers’ adoption of adequate security safeguards,

   14 consumers’ sensitive information . . . can be disclosed to third parties without

   15 consumers’ knowledge or consent.”55 In a 2013 order, the FCC “clarif[ied] existing

   16 law so that consumers will know that their carriers must safeguard these kinds of

   17 information so long as the information is collected by or at the direction of the carrier

   18 and the carrier or its designee56 has access to or control over the information.”57

   19         104. Pursuant to these rules, AT&T must “implement a system by which the status
   20 of a customer’s CPNI approval can be clearly established prior to the use of CPNI.”58

   21 AT&T is also required to “design their customer service records in such a way that the

   22 status of a customer’s CPNI approval can be clearly established.”59 The FCC’s rules

   23   53
        See 47 CFR § 64.2001(“The purpose of the rules in this subpart is to implement section 222 of the
   24 Communications Act of 1934, as amended, 47 U.S.C. 222.”). The FCC also regularly releases CPNI
      orders that promulgate rules implementing its express statutory obligations. See 2007 CPNI Order
   25 and 2013 CPNI Order.
        54
             2007 CPNI Order ¶ 9; see also Id. at ¶ 35; 47 U.S.C. § 222(c); 47 C.F.R. § 64.2009.
   26   55
             Id.
      56
         In the ruling, “designee” is defined as “an entity to which the carrier has transmitted, or
   27 directed the transmission of, CPNI or is the carrier’s agent.” Id. n. 1.
        57
           Id. at ¶ 1 (emphasis added).
   28   58
           2007 CPNI Order ¶¶ 8-9 (emphasis added); see also 47 C.F.R. § 64.2009(a).
        59
           Id. ¶ 9.
                                                          - 26 -
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 27 of 75 Page ID #:1541



    1 also “require carriers to maintain records that track access to customer CPNI

    2 records.”60

    3        105. Upon information and belief, AT&T has failed to implement such a system.
    4 The fact that Mr. Shapiro’s account was accessed without his authorization on at least

    5 four separate occasions demonstrates AT&T’s failures in this regard.

    6        106. AT&T’s failures are particularly egregious because Mr. Shapiro contacted
    7 AT&T following each SIM swap attack and provided specific instructions that

    8 employees, representatives and agents were not to access his CPNI without his

    9 express, prior approval, as established through the use of passcodes. Mr. Shapiro was

   10 told that specific warnings would be placed on his account to this affect. These

   11 instructions and warnings were ineffective, as shown by the repeated breaches of Mr.

   12 Shapiro’s account.

   13        107. AT&T is also required to “train their personnel as to when they are and are
   14 not authorized to use CPNI, and carriers must have an express disciplinary process in

   15 place.”61

   16        108. Upon information and belief, AT&T has failed to properly train and supervise
   17 their personnel, as reflected by AT&T employees’, representatives’ and agents’

   18 involvement in Mr. Shapiro’s breaches.

   19        109. Carriers must “maintain a record of all instances where CPNI was disclosed
   20 or provided to third parties, or where third parties were allowed access to CPNI.”62

   21        110. Upon information and belief, AT&T has failed to maintain such a record, as
   22 demonstrated by its repeated failure to protect Mr. Shapiro after his CPNI was

   23 provided to third-parties.

   24        111. AT&T has also breached its duty to safeguard Mr. Shapiro’s CPNI from data
   25 breaches, in violation of Section 222(a) and Section 201(b) of the FCA.

   26        112. The FCC has “[made] clear that carriers’ existing statutory obligations to
   27
        60
           Id.
   28   61
           47 C.F.R. § 64.2009(b).
        62
           Id.; see also 47 C.F.R. § 64.2009(c).
                                                      - 27 -
                                            FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 28 of 75 Page ID #:1542



    1 protect their customers’ CPNI include[s] a requirement that carriers take reasonable

    2 steps, which may include encryption, to protect their CPNI databases from hackers

    3 and other unauthorized attempts by third parties to access CPNI.”63

    4        113. AT&T failed to take reasonable steps to protect Mr. Shapiro’s CPNI, thereby
    5 allowing third-party hackers to access his CPNI on at least four occasions.

    6        114. The FCC also requires that carriers inform customers – and law enforcement
    7 – “whenever a security breach results in that customer’s CPNI being disclosed to a

    8 third party without that customer’s authorization.”64 This requirement extends to any

    9 unauthorized disclosure.

   10        115. In adopting this requirement, the FCC rejected the argument that it “need not
   11 impose new rules about notice to customers of unauthorized disclosure because

   12 competitive market conditions will protect CPNI from unauthorized disclosure.”65

   13        116. Instead, the FCC found that “[i]f customers and law enforcement agencies are
   14 unaware of [unauthorized access], unauthorized releases of CPNI will have little

   15 impact on carriers’ behavior, and thus provide little incentive for carriers to prevent

   16 further unauthorized releases. By mandating the notification process adopted here, we

   17 better empower consumers to make informed decisions about service providers and

   18 assist law enforcement with its investigations. This notice will also empower carriers

   19 and consumers to take whatever ‘next steps’ are appropriate in light of the customer’s
   20 particular situation.”66 The FCC specifically recognized that this notice could allow

   21 consumers to take precautions or protect themselves “to avoid stalking or domestic

   22 violence.”67

   23        117. AT&T failed in its duty to safeguard Mr. Shapiro’s CPNI from breaches and,
   24 upon information and belief, has failed to properly inform him of such breaches when

   25 they occurred. Mr. Shapiro only received any documentation alerting him that his

   26
        63
         2007 CPNI Order ¶ 36 (citation omitted).
   27   64
         2007 CPNI Order ¶ 26; see also 47 C.F.R § 64.2011(c).
      65
         2007 CPNI Order ¶ 30.
   28 66 Id.
      67
         Id. at n.100.
                                                        - 28 -
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 29 of 75 Page ID #:1543



    1 CPNI had been breached after the third hack; he received no such notice following the

    2 first two SIM swap attacks. Additionally, he only received documentation for three

    3 out of four total attacks.

    4        118. Under the FCA, AT&T is not just liable for its own violations of the Act, but
    5 also for violations that it “cause[s] or permit[s].”68 By failing to secure Mr. Shapiro’s

    6 account and protect his CPNI, AT&T caused and/or permitted Mr. Shapiro’s CPNI to

    7 be accessed and used by its own employees and by third-party hackers.

    8        119. AT&T is also responsible for the acts, omissions, and/or failures of officers,
    9 agents, employees, or any other person acting for or employed by AT&T, including

   10 employees, representatives and agents Jack and White.

   11           D. Mr. Shapiro’s Harm was Caused by Defendants’ Negligence.
   12        120. Defendants were negligent in numerous respects: (1) AT&T was negligent,
   13 grossly negligent or reckless in (a) hiring, training and supervising its agents

   14 Synchronoss and Spring, (b) hiring, training and supervising its own retail employees

   15 who forced Mr. Shapiro to wait for a considerable time while he was being SIM

   16 swapped, (c) failing to implement readily available technology solutions and other

   17 measures to prevent SIM swaps, and (d) instead seeking to profit from the SIM swap

   18 problem by focusing on developing a post-SIM swap solution as set forth in detail

   19 below; (2) Synchronoss was negligent, grossly negligent or reckless in hiring, training
   20 and supervising its employees or agents Jack and White who were involved in the

   21 conspiracy to defraud Mr. Shapiro; and (3) Spring (now Spring) was negligent,

   22 grossly negligent or reckless in hiring, training and supervising its employees or

   23 agents involved in the third and fourth SIM swaps of Mr. Shapiro.

   24        121. By failing to secure Mr. Shapiro’s account—and protect the confidential and
   25 sensitive data contained therein—and to properly hire, train, and supervise their

   26   68
        See 47 U.S.C.A. § 206 (establishing that “[i]n case any common carrier shall do, or cause or
   27 permit to be done, any act, matter, or thing in this chapter prohibited or declared to be unlawful, or
      shall omit to do any act, matter, or thing in this chapter required to be done such common carrier
   28 shall be liable to the person or persons injured thereby for the full amount of damages sustained in
      consequence of any such violation of the provisions of this chapter[.]”)
                                                  - 29 -
                                        FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 30 of 75 Page ID #:1544



    1 employees, representatives and agents, Defendants are responsible for the foreseeable

    2 harm Mr. Shapiro suffered as a result of Defendants’ gross negligence or reckless

    3 conduct. Further, Defendants are responsible for their representatives’ and agents’

    4 failure to obtain Mr. Shapiro’ valid consent before accessing his account and

    5 effectuating a SIM swap, as such actions were within the scope of their agency or

    6 employment with Defendants. On information and belief, Defendants’ representatives

    7 and agents were tasked with and able to change customers’ SIM card numbers at will

    8 – even when such changes violated AT&T company policy. Additionally, Defendants

    9 representatives’ and agents’ breach of Mr. Shapiro’s account and the subsequent SIM

   10 swap was foreseeable. AT&T has known for more than a decade that third parties

   11 frequently attempt to access and take over mobile customers’ accounts for fraudulent

   12 purposes.

   13         122. Further, AT&T is responsible for its employees’, representatives’ and agents’
   14 participation in the conspiracy to rob Mr. Shapiro, as such actions were within the

   15 scope of their employment with AT&T. On information and belief, AT&T employees,

   16 representatives and agents were tasked with and able to change customers’ SIM cards.

   17         123. Additionally, AT&T employees’ breach of Mr. Shapiro’s account and the
   18 subsequent SIM swaps were foreseeable. AT&T knew or should have known that Mr.

   19 Shapiro’s account was at risk, but nonetheless failed to secure his account and failed
   20 to properly hire, supervise and train its employees, representatives and agents.

   21         124. AT&T has known for more than a decade that third parties frequently attempt
   22 to access wireless customers’ accounts for fraudulent purposes. In 2007, the FCC

   23 issued an order strengthening its CPNI rules in response to the growing practice of

   24 “pretexting.”69 Pretexting is “the practice of pretending to be a particular customer or

   25 other authorized person in order to obtain access to that customer’s call detail or other

   26 private communication records.”70 This 2007 Order put AT&T on notice that its

   27 customers’ accounts were vulnerable targets of the third-parties seeking unauthorized

   28   69
             2007 CPNI Order.
        70
             Id. ¶ 1.
                                                - 30 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 31 of 75 Page ID #:1545



    1 access.

    2        125. AT&T also knew, or should have known, about the risk SIM swap crimes
    3 presented to its customers. SIM swap crimes have been a widespread and growing

    4 problem for years. The U.S. Fair Trade Commission (“FTC”) reported in 2016 that

    5 there were 1,038 reported SIM swap attacks per month in January 2013, which

    6 increased sharply to 2,658 per month by January 2016—2.5 times as many.71 The FTC

    7 reported that SIM swaps represented 6.3% of all identity thefts reported to the agency

    8 in January 2016, and that such thefts “involved all four of the major mobile carriers” –

    9 including AT&T.72

   10        126. AT&T knew or should have known that it needed to take steps to protect its
   11 customers. The FTC’s 2017 Report stated that “mobile carriers are in a better position

   12 than their customers to prevent identity theft through mobile account hijacking[.]”73

   13 The FTC urged carriers such as AT&T to “adopt a multilevel approach to

   14 authenticating both existing and new customers and require their own employees as

   15 well as third-party retailers to use it for all transactions.”74 The FTC also specifically

   16 warned carriers, including AT&T, of the risk that, due to text message password reset

   17 requests and two-factor authentication, SIM swapping put subscribers at risk of

   18 financial loss and privacy violations:

   19
                        Having a mobile phone account hijacked can waste hours of
   20                   a victim’s time and cause them to miss important calls and
                        messages. However, this crime is particularly problematic
   21                   due to the growing use of text messages to mobile phones as
                        part of authentication schemes for financial services and other
   22                   accounts. The security of two factor authentication schemes
                        that use phones as one of the factors relies on the assumption
   23                   that someone who steals your password has not also stolen
                        your phone number. Thus, mobile carriers and third-party
   24                   retailers need to be vigilant in their authentication practices
   25
        71
        Lori Cranor, FTC Chief Technologist, “Your mobile phone account could be hijacked by an
   26 identity thief,” Federal Trade Commission (June 7, 2016), https://www.ftc.gov/news-
      events/blogs/techftc/2016/06/your-mobile-phone-account-could-be-hijacked-identity-thief
   27 (hereafter, “2017 FTC Report”).
        72
           Id.
   28   73
           Id. (emphasis added).
        74
           Id.
                                                 - 31 -
                                       FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 32 of 75 Page ID #:1546


                          to avoid putting their customers at risk of major financial loss
    1                     and having email, social network, and other accounts
                          compromised.75
    2

    3         127. AT&T admitted it was aware of SIM swap crimes and the effect they could
    4 have on its customers in September 2017 when AT&T’s Vice President of Security

    5 Platforms published an article on AT&T’s “Cyber Aware” blog about SIM swaps.76 In

    6 the article, AT&T acknowledged that subscribers with “valuable accounts that are

    7 accessible online” are likely targets of SIM swaps. AT&T recommended that its

    8 customers set up passcodes that would provide “extra security.” These passcodes

    9 repeatedly failed to protect Mr. Shapiro.

   10         128. AT&T therefore knew that its customers’ accounts were at risk at least 8
   11 months before any breaches of Mr. Shapiro’s account. At the time of his first attack in

   12 May 2018, Mr. Shapiro informed AT&T—both on the phone and in person—that he

   13 had valuable online accounts, thereby making him the type of individual that AT&T

   14 recognized was specifically vulnerable to SIM swap attacks. Nonetheless, AT&T

   15 failed to take reasonable steps to protect his account.

   16         129. AT&T’s inadequate security procedures are particularly egregious in light of
   17 AT&T’s repeated public statements about the importance of cyber security and its

   18 public representations about its expertise in this area. AT&T has an entire series on its

   19 public YouTube channel (“AT&T ThreatTraq”) dedicated to discussing and analyzing
   20 emerging cybersecurity threats.77 In its videos, AT&T describes itself as a “network

   21 that senses and mitigates cyber threats.”78

   22         130. AT&T recognizes the risks that arise when a cell phone is compromised,
   23 stating, “Our phones are mini-computers, and with so much personal data on our

   24 phones today, it’s also important to secure our mobile devices.”79 AT&T’s

   25
        75
             Id. (emphasis added).
        76
   26        Brian Rexroad, “Secure Your Number to Reduce SIM Swap Scams,” AT&T’s Cyber Aware
      (Sep. 2017), https://about.att.com/pages/cyberaware/ni/blog/sim_swap.
   27 77 “AT&T Tech Channel,” YouTube, https://www.youtube.com/user/ATTTechChannel.
      78
         “AT&T – Protect Your Network with the Power of &,” VIMEO, https://vimeo.com/172399153.
   28   79
             AT&T, “Mobile Security,” YOUTUBE (Feb. 12, 2019),
        https://www.youtube.com/watch?v=KSPHS89VnX0.
                                                   - 32 -
                                        FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 33 of 75 Page ID #:1547



    1 advertisements also stress how central a role cell phones play in its customer’s lives,

    2 stating: “My phone is my life” and “My phone is everything.” The same ad stresses

    3 how the inability to use a cell phone makes people feel “completely untethered,

    4 flailing around.”80

    5         131. AT&T markets its ability to identify to and neutralize emerging cyber threats
    6 for its customers. In one video, AT&T employees discuss “threat hunting” which they

    7 describe as “an active threat analysis where you’re actually thinking about your

    8 adversary.”81 They claim that it’s “important” and “something [AT&T has] been

    9 doing for a long time.”82 They advise that companies should think about “what would

   10 a hacker want to do, where would a hacker go to get my data, what are some of the

   11 points on my network that are most vulnerable, or where is the data flow that is

   12 potentially going to be a leakage” and state that “having threat hunting as part of a

   13 proactive continuous program, integrating with existing security measures, will help

   14 [you] stay ahead of the threats.”83

   15         132. Not only did AT&T advise staying ahead of and addressing cyber threats, it
   16 also stressed that these practices could even help identify “insider threats”—

   17 employees within the company.

   18         133. In an additional video focused on insider threats, AT&T employees,
   19 representatives and agents go on at length about the threat of company insiders selling
   20 corporate information and access, citing a survey showing that “30% [of respondents]

   21 had purposefully sent data outside of their organization at some point in time” and

   22 “14% of the people that were interviewed said they would actually sell their corporate

   23 log-ins to folks on the outside or sell that data for less than about $250 US.”84 They

   24 cited as a “significant concern” the “individuals that have privileged access, that have

   25
        80
             “AT&T Mobile Movement Campaign – Ads,” VIMEO, https://vimeo.com/224936108.
        81
   26        AT&T Tech Channel, “The Huntin’ and Phishin’ Episode,” YOUTUBE (Apr. 21, 2017),
      https://www.youtube.com/watch?v=3g9cPCiFosk.
   27 82 Id.
      83
         Id.
   28   84
             AT&T ThreatTraq, “The Real Threat of Insider Threats,” YouTube (May 5, 2017),
        https://www.youtube.com/watch?v=ZM5tuNiVsjs (emphasis added).
                                                     - 33 -
                                        FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 34 of 75 Page ID #:1548



    1 broad access inside an organization.”85 AT&T therefore knew or should have known

    2 that there was a significant risk that its own employees, representatives and agents

    3 would sell AT&T data— including customer account data—and that the risk was

    4 heightened when employees had too broad of an access to corporate systems, yet

    5 AT&T failed to put sufficient systems and resources in place to mitigate that risk,

    6 despite its own advice to the contrary.

    7        134. AT&T has also recognized the danger presented to its customers when their
    8 email addresses are hacked, as Mr. Shapiro’s was on multiple occasions as a result of

    9 AT&T’s failures. As one AT&T employee puts it: “I think most people do have

   10 something valuable [in their email accounts], which is access to all their other

   11 accounts, which you can get with a password reset.”86 They call this “something worth

   12 keeping safe.”87 They advised that a “strong, obviously, security awareness program

   13 within a company . . . is extremely important.”88

   14        135. In this video series, AT&T makes specific mentions of SIM swapping
   15 activity. In one video, AT&T’s Vice President of Security Platforms (Brian Rexroad)

   16 and Principal of Technology Security (Matt Keyser) discuss the hack of a forum

   17 called OGusers.89 In the segment, they discuss the hacking of social media users’

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   26   85
         Id.
        86
         Id.
   27 87 Id.
      88
         Id.
   28 89 AT&T ThreatTraq, “5/31/19 Account-hacking Forum OGusers Hacked,” YOUTUBE (May 31
      2019), https://www.youtube.com/watch?time_continue=234&v=cS4xV3cej3A.
                                                      - 34 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 35 of 75 Page ID #:1549



    1 account names and point to a news story that highlights—in distinct orange type—that

    2 OGusers is a forum popular among people “conducting SIM swapping attacks to seize

    3 control over victims’ phone numbers.”90

    4        136. AT&T was therefore well aware of the significant risk that AT&T employees,
    5 representatives and agents and SIM swapping presented to its customers, and the need

    6 to mitigate such risks, but nonetheless failed to take adequate steps to protect Mr.

    7 Shapiro. Instead, it continued to make public statements giving rise to a reasonable

    8 expectation that AT&T could—and would—protect its customers.

    9        137. Additionally, Mr. Shapiro’s hack was foreseeable because at least two of the
   10 AT&T employees, representatives and agents involved—Jack and White—were

   11 involved in a suspiciously high number of unauthorized SIM swaps the very same

   12 month of Mr. Shapiro’s first and second hacks. White conducted 29 unauthorized SIM

   13 swaps in May 2018, while Jack conducted 12 unauthorized swaps that same month.

   14 This suspicious activity should have raised alarms at AT&T, but the company

   15 nonetheless failed to protect Mr. Shapiro from these employees, representatives and

   16 agents.

   17        138. The risk to Mr. Shapiro’s account, specifically, was particularly foreseeable
   18 after the very first breach on May 16, 2018. Despite confirming that a breach had

   19 occurred, AT&T employees, representatives and agents refused to help Mr. Shapiro
   20 when his account was again breached and his SIM card swapped just a few minutes

   21 after he restored control over his account on May 16. Instead, AT&T did nothing

   22 while its employees, representatives and agents aided hackers in their more than $1.9

   23 million theft from Mr. Shapiro, valued much higher today because of the increase in

   24 cryptocurrency values.

   25        139. Even after two documented account breaches and unauthorized SIM swaps in
   26
        90
   27    Id.; see also Freeman Indictment at ¶ 2 (Describing how “discussions—such as discussing the
        manner and means to [SIM swap] attacks generally, and networking among [SIM swap
   28 hackers]—typically took place on forums such as “OGusers.”).
                                                  - 35 -
                                        FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 36 of 75 Page ID #:1550



    1 May, AT&T failed to protect Mr. Shapiro’s account on two additional occasions in

    2 November 2018 and May 2019.

    3        140. That Mr. Shapiro was at risk of account breaches at the hands of AT&T
    4 employees, representatives and agents is particularly foreseeable—and AT&T’s

    5 failures are particularly stark—in light of AT&T’s history of unauthorized employees,

    6 representatives and agents access to customer accounts.

    7        141. In 2015, AT&T faced an FCC enforcement action, and paid a $25 million
    8 civil penalty, for nearly identical failures to protect its customers’ sensitive account

    9 data.91 In that case, as AT&T admitted, employees, representatives and agents at an

   10 AT&T call center breached 280,000 customers’ accounts.92 Specifically, AT&T

   11 employees, representatives and agents had improperly used login credentials to access

   12 customer accounts and access customer information that could be used to unlock the

   13 customers’ devices.93 The employees, representatives and agents then sold the

   14 information they obtained from the breaches to a third party.94

   15        142. The FCC concluded that AT&T’s “failure to reasonably secure customers’
   16 proprietary information violates a carrier’s statutory duty under the Communications

   17 Act to protect that information, and also constitutes an unjust and unreasonable

   18 practice in violation of the Act.”95

   19        143. The FCC stressed that the FCA is intended to “ensure that consumers can
   20 trust that carriers have taken appropriate steps to ensure that unauthorized persons are

   21 not accessing, viewing or misusing their personal information.”96 It stressed its

   22 expectation that “telecommunications carriers such as AT&T . . . take ‘every

   23 reasonable precaution’ to protect their customers’ data[.]”97

   24        144. As part of its penalty, AT&T entered into a stipulated Consent Decree with
   25
        91
         In the Matter of AT&T Servs., Inc., 30 F.C.C. Rcd. 2808 (2015).
   26   92
         Id. ¶ 1.
      93
         Id. ¶¶ 7, 11.
   27 94 Id. ¶ 1.
      95
         Id. ¶ 2.
   28 96 Id.
      97
         Id.
                                                          - 36 -
                                          FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 37 of 75 Page ID #:1551



    1 the FCC, in which AT&T agreed to develop and implement a compliance plan to

    2 ensure appropriate safeguards to protect consumers against similar breaches by

    3 improving its privacy and data security practices.98

    4         145. This FCC enforcement action underscores AT&T’s knowledge of the risk its
    5 employees presented to customers, the prevalence of employee breaches to customer

    6 data, the sensitive nature of customer CPNI, and its duties to protect and safeguard

    7 that data.

    8         146. Nonetheless, more than 3 years after stipulating to the Consent Decree,
    9 AT&T still failed to protect its customer from employee, representative and agent

   10 breaches of customer CPNI and other account data, virtually identical to the breach at

   11 issue here, heightening the degree of its negligence.

   12         147. In January 2020, Princeton researchers released a study finding that top U.S.
   13 mobile carriers, including AT&T, do little to protect customers from SIM swap

   14 fraud.99 The study stated “We examined the authentication procedures used by five

   15 prepaid wireless carriers when a customer attempted to change their SIM card. We

   16 found that all five carriers used insecure authentication challenges that could be

   17 easily subverted by attackers. We also found that attackers generally only needed to

   18 target the most vulnerable authentication challenges, because the rest could be

   19 bypassed.” The researchers pretended to be the true phone owner and said they forgot
   20 answers to security questions study stating, “Our key finding is that, at the time of our

   21 data collection, all 5 carriers used insecure authentication challenges that could easily

   22 be subverted by attackers.” The study also found: (i) Callers only needed to

   23 successfully respond to one challenge in order to authenticate, even if they had failed

   24 numerous prior challenges. (ii) Four-fifths of SIM-swap fraud attempts were

   25 successful, and the researchers attempted 50 SIM swaps and successfully completed

   26
        98
             Id. ¶¶ 2, 17-18, 21.
   27   99
         “An Empirical Study of Wireless Carrier Authentication for SIM Swaps” Kevin Lee, Ben Kaiser,
      Jonathan Mayer, Arvind Narayanan Dept of Computer Science and Center for Information
   28 Technology Policy, Princeton University, January 10, 2020 at
      https://www.issms2fasecure.com/assets/sim_swaps-01-10-2020.pdf
                                                - 37 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 38 of 75 Page ID #:1552



    1 39. (iii) AT&T, Verizon and T-Mobile failed the study. (iv) Some carriers even guided

    2 them to the correct answer or didn't ask for anything at all. The Princeton study was

    3 widely reported in the media and prompted Congress to get involved. In January

    4 2020, Senator Ron Wyden and 5 other Senators and Congressmen published a letter to

    5 FCC Chairman Ajit Pai calling on him to take action to protect consumers against

    6 SIM swap fraud, with the Senator stating “SIM swap fraud may also endanger

    7 national security. For example, if a cybercriminal or foreign government uses a SIM

    8 swap to hack into the email account of a local public safety official, they could then

    9 leverage that access to issue emergency alerts using the federal alert and warning

   10 system operated by the Federal Emergency Management Agency.”100 Senator Wyden

   11 also stated, “Consumers are at the mercy of wireless carriers when it comes to being

   12 protected against SIM swaps."101

   13         148. According to a Wall Street Journal (“WSJ”) article from November 2019, “He
   14 Thought His Phone Was Secure; Then He Lost $24 Million to Hackers,” investigators

   15 say they know of more than 3,000 SIM swap victims, accounting for at least $70

   16 million in theft nationwide (the real numbers are likely much higher considering that

   17 many cases go unreported).102 The WSJ article states, “the people who investigate

   18 these attacks consider them some of the most harmful they have ever seen.” 102

   19 Victims include high profile public officials, celebrities, and business executives like
   20 Jack Dorsey, the CEO of Twitter, whose 2019 SIM swap hack was profiled in the

   21 Forbes article “Why Twitter Blames AT&T For The Hack Of Its CEO Jack Dorsey

   22 Account, Sending Shocking Racist Tweets,” and quotes Jeb Su, a Principal Analyst at

   23 Atherton Research as saying “AT&T’s poor security policy made this malicious [SIM

   24 swap] hack possible.” 103 The same hacker who executed Jack Dorsey’s SIM swap

   25

   26   100
          https://docs.fcc.gov/public/attachments/DOC-362599A1.pdf
        101
          https://twitter.com/ronwyden/status/1215757690875600896
   27 102 https://www.wsj.com/articles/he-thought-his-phone-was-secure-then-he-lost-24-million-to-
      hackers-11573221600.
   28 103 https://www.forbes.com/sites/jeanbaptiste/2019/08/31/why-twitter-blames-att-for-ceo-jack-
      dorsey-account-hack-sending-shocking-racist-tweets/.
                                                 - 38 -
                                       FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 39 of 75 Page ID #:1553



    1 also successfully hacked the District Attorney prosecuting the hacker of another

    2 AT&T customer.104

    3     149. AT&T’s SIM swap problem is exacerbated by their sprawling, mismanaged
    4 and problematic call center system. In 2017, AT&T’s parent (AT&T, Inc.) had

    5 254,000 employees105 and 38 third-party call centers across eight non-US countries.106

    6 A study by the Communication Workers of America (“CWA”) entitled “AT&T 2018

    7 Jobs Report: Telecom Giant Hollows Out Middle Class Workforce and Outsources to

    8 Global Contractors, Even as it Reaps Tax Windfall” details how AT&T’s call center

    9 operation is fundamentally broken. Among the key findings were that (i) employees

   10 at AT&T vendor call centers face inadequate training and intense pressure to reach

   11 unrealistic quotas – making it difficult to meet customer’s needs; (ii) overseas

   12 vendors, paid as little as $1.60 per hour and often rely on other members of their

   13 household to make ends meet, provide inaccurate information, fail to solve problems,

   14 offer credits or promotions that cannot be honored, and enroll customers in services

   15 they did not request; and (iii) the problems caused by overseas operations add to the

   16 burden of U.S. based workers, thereby affecting their work. On information and

   17 belief, all of AT&T’s numerous customer service representatives are authorized to

   18 perform SIM swaps, exacerbating the problem. In order to address its organizational

   19 failings, AT&T could have created a call center dedicated to SIM swaps, and properly
   20 vetted, trained and supervised SIM swap customer service representatives, in order to

   21 address the problem of unauthorized SIM swaps.

   22     150. More significantly, for many years AT&T has been fully aware of well-
   23 established technology solutions, which it could have configured its systems to

   24 require, to deter and prevent unauthorized SIM swaps and resulting thefts, which it

   25
      104
          “Authorities Arrest Alleged Member of Group That Hacked Jack Dorsey”, Vice by Joseph Cox,
   26 November 23, 2019 at https://www.vice.com/en_us/article/gyzawx/authorities-arrest-suspected-jack-
      dorsey-hacker.
   27 105 https://www.statista.com/statistics/220683/number-of-atundt-employees-since-2007/
      106
          New Report Pulls Back the Curtain on AT&T's Vast Network of Offshored Call Centers at
   28 https://cwa-union.org/news/releases/new-report-pulls-back-curtain-on-atts-vast-network-of-
      offshored-call-centers
                                                - 39 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 40 of 75 Page ID #:1554



    1 could easily have implemented well before Mr. Shapiro’s phone was SIM swapped,

    2 but failed and refused to implement:

    3                a.     Location detection. At the exact moment of the SIM swap request,
    4 AT&T knew the hacker's location (which Shapiro is informed was in Florida), and

    5 that Mr. Shapiro’s phone was simultaneously in Manhattan, as AT&T tracks

    6 customers’ location and even sells their location data.107 AT&T knew that Mr.

    7 Shapiro and his phone could not simultaneously be in the same place, and could have

    8 easily recognized the SIM swap request as a fraud attempt, denied it, and alerted Mr.

    9 Shapiro. AT&T was actually profiting off customers’ location data at the same time

   10 as it did nothing to use the same location data to prevent the unauthorized SIM swap.

   11                b.     Text message. AT&T could have simply sent Mr. Shapiro a text
   12 message asking him to confirm whether he requested the SIM swap. He would have

   13 replied “no” and AT&T would have then denied the hacker’s SIM swap request and

   14 could have reported the fraud attempt to Mr. Shapiro. AT&T regularly sends text

   15 messages to its customers for marketing purposes, and asks customers to reply if they

   16 want to stop receiving such texts.

   17                c.     Email confirmation. AT&T could have simply sent Mr. Shapiro an
   18 email asking him to confirm whether he requested the SIM swap. AT&T could have

   19 asked for a confirmation directly within the email or directed him to a legitimate link
   20 to confirm the request. Mr. Shapiro would have replied “no” and AT&T would have

   21 then denied the hacker’s SIM swap request and could have reported the fraud attempt

   22 to Mr. Shapiro.

   23                d.     Voice biometrics. Voice biometrics (or “Voice Id”) is a well-
   24 established and cost-effective technology that has been implemented by leading

   25 financial institutions (e.g., Chase, Wells Fargo and Schwab) to prevent fraud by

   26 verifying customers’ identities by comparing a caller’s voice to a customer (or

   27   107
         FCC Proposes Over $200 Million in Fines Against Four Largest Wireless Carriers For
      Apparently Failing to Adequately Protect Consumer Location Data February 28, 2020 at
   28 https://docs.fcc.gov/public/attachments/DOC-362754A1.pdf
                                               - 40 -
                                     FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 41 of 75 Page ID #:1555



    1 fraudster) voiceprint stored on file.108 The technology has also been implemented by

    2 in Europe, including by the largest carrier in Europe, Deutsche Telekom.109 While

    3 AT&T developed its own voice biometrics solution called AT&T Watson, the

    4 technology was never implemented to prevent SIM swaps, and instead was sold to

    5 Interactions Corporation (“Interactions”) in 2014 in exchange for an equity stake.110

    6 Ironically, Interactions continues to promote its voice biometrics solution as “Secure

    7 and Convenient Authentication,”111 continues to publicly promote the solution to its

    8 large corporate customers who have their own call centers (e.g., banks, insurance

    9 companies), a publishing a research report entitled “4 emerging technologies that

   10 could transform your contact center,” which provides in relevant part as follows: Even

   11 as companies take steps to guard their IT environments against a growing barrage of

   12 cyberthreats, many are neglecting another vulnerable area: their contact centers.

   13                Social engineering calls to contact centers — in which
   14                fraudsters pose as customers and try to trick agents into
                     revealing confidential customer information — are on the
   15                rise, according to industry experts, particularly at financial
   16                institutions, insurance companies and other businesses that
                     store sensitive data.
   17

   18
                     Voice biometrics can help your agents know exactly with
                     whom they’re talking when they answer a customer call.
   19                This technology can recognize voice characteristics
   20
                     passively and verify callers in real time, whether they need
                     to speak to one of your representatives or are using your
   21                interactive voice response system.
   22
                     “By comparing your callers’ voiceprints against a database
   23
      108
          Chase at https://www.chase.com/personal/voice-biometrics, Wells Fargo at
   24 https://www.wellsfargo.com/privacy-security/voice-verification, and Schwab at
      https://www.schwab.com/voice-id.
   25 109 Deutsche Telekom turns to biometrics for authentication and fraud detection
      https://telecoms.com/491915/dt-turns-to-biometrics-for-authentication-and-fraud-detection/
   26
      110
          AT&T and Interactions Agree to Strategic Transaction in Speech and Multi-Modal Technology
   27 Arena November 5, 2014.
      https://about.att.com/story/att_and_interactions_agree_to_strategic_transaction_in_speech_and_mult
   28 i_modal_technology_arena.html
      111
          https://www.interactions.com/products/voice-biometrics/
                                                - 41 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 42 of 75 Page ID #:1556


                     of known fraudster voiceprints, voice biometrics programs
    1
                     can help you identify and track potential thieves before they
    2                steal your data.”112
    3
                     e.     Data sharing. Mobile phone carriers in other countries have
    4
        implemented a “data sharing” solution to prevent theft once an unauthorized SIM
    5
        swap has occurred. In essence, the carriers allow financial institutions real-time
    6
        access to their SIM swap data so that the institution can block a requested currency
    7
        transfer if there has been a SIM swap within a specified time frame (e.g., within 48
    8
        hours of the transfer request), since very recent SIM swap combined with a
    9
        withdrawal request is a strong indicator of fraud. The data sharing solution is widely
   10
        known and broadly used by major carriers outside of the US. Wired magazine
   11
        published an article entitled “The SIM Swap Fix That the US isn’t Using,” which
   12
        states in relevant part that “While foreign phone carriers are sharing data to stop SIM
   13
        swap fraud, US carriers are dragging feet.”113 Wired describes that even carriers in
   14
        developing countries such as Mozambique implemented the solution within a few
   15
        months of understanding the extent of the problem, and that the Head of IT, Cyber
   16
        Security & Core Data Networks at Vodacom reported that “[the solution] reduced
   17
        their SIM swap fraud to nearly zero overnight".114 Third party aggregators such as
   18
        Prove.com (formerly Payfone, Inc.) and Telesign Corporation, who license SIM swap
   19
        data from non-US carriers and sell it as a fraud prevention offering to banks. Figure 2
   20
        below shows how all four major carriers in the United Kingdom (“UK”), including
   21
        British Telecom, Vodafone, O2 and Three, provide their SIM swap data to Prove.com,
   22
        which in turn sells a fraud prevention service to banks enabling them to do real-time
   23

   24

   25   112
          “4 Emerging Technologies That Could Transform Your Contact Center” Mike Rajich, AT&T
      Director of Contact Center and Enterprise Routing Product Management, AT&T
   26 https://www.business.att.com/learn/research-reports/4-emerging-technologies-that-could-transform-
      your-contact-center.html
   27 113 The SIM Swap Fix That the US Isn’t Using, Wired, Andy Greenberg, April 26, 2019
      https://www.wired.com/story/sim-swap-fix-carriers-banks/.
   28 114 Id.
                                                - 42 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 43 of 75 Page ID #:1557



    1 SIM swap checks to at the time of customers’ high-risk transactions.115

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   11                                                 Figure 2
                      Prove.com system for aggregating SIM swap data from the top 4 UK carriers
   12
                       and enabling financial insstitution, to perform real-time SIM swap checks
   13

   14
                        f.     Dedicated SIM swap centers. On information and belief, AT&T
   15
        permits remote SIM swaps at each of its numerous call centers located throughout the
   16
        world which results in failing to conduct proper hiring, training, supervision, and
   17
        oversight, instead of creating a single center where a dedicated team of properly
   18
        vetted, trained and supervised call center workers handle the remote SIM swap.
   19
              151. Had AT&T implemented any of the foregoing low cost and easy to implement
   20
        solutions, Mr. Shapiro would not have been the victim of an unauthorized SIM swap.
   21
              152. Instead of implementing solutions to prevent unauthorized SIM swaps, AT&T
   22
        appears to have made the conscious business decision to profit from unauthorized SIM
   23
        swaps after they have occurred. On September 18, 2018, AT&T, Verizon and T
   24
        Mobile publicly announced the joint business scheme they had been developing for
   25

   26

   27

   28
        115
              https://www.prove.com/blog/prove-uk-psd2-sca-replace-sms-otp
                                                   - 43 -
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 44 of 75 Page ID #:1558



    1 months called “Project Verify,” now known as ZenKey, to profit from the SIM swap

    2 problem. 116

    3         153. At launch, ZenKey was marketed to consumers as an easier and more secure
    4 way to log into other online services, stating “Your carrier has a unique ability to

    5 identify and protect your mobile identity” and that ZenKey checks for suspicious

    6 activity at the carrier, denoting a real-time SIM swap check (as this is the most

    7 significant suspicious activity that can occur in a customer’s mobile account).117

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   27   116
           U.S. Mobile Giants Want to be Your Online Identity at https://krebsonsecurity.com/tag/project-
        verify/
   28
        117
              https://myzenkey.com/how-it-works/
                                                   - 44 -
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 45 of 75 Page ID #:1559



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   14                                                Figure 3
   15          AT&T/ZenKey promoted that it “has a unique ability to identify and protect your
   16                        mobile identity” and checks for suspicious activity.
   17

   18         154. AT&T/ZenKey promotes that it “has a unique ability to identify and protect
   19 your mobile identity” and checks for suspicious activity. AT&T’s ZenKey consumer
   20 app is available to consumers currently in the Apple and Google app stores for iPhone

   21 and Android devices, as shown in Figure 4.118

   22

   23

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   27                       Figure 4: AT&T ZenKey apps for iPhone and Android
   28   118
            iPhone app at https://apps.apple.com/us/app/zenkey-powered-by-at-t/id1490293601, Android app
        at https://play.google.com/store/apps/details?id=com.att.cso.consumer.MKapp&hl=en_US
                                                 - 45 -
                                       FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 46 of 75 Page ID #:1560



    1         155. At the same time, ZenKey is marketed to financial institutions as an identity
    2 and authentication scheme through its “Trust Services” offering, to prevent fraud, with

    3 the clear representation that its purpose is to combat SIM swap fraud: “SIM Swap

    4 Fraud has already cost businesses hundreds of millions of dollars and the threat is

    5 increasing. With ZenKey, fraudsters can no longer access your users’ accounts

    6 based on stolen credentials and a simple SIM Swap.”119 ZenKey’s benefits page

    7 states “SIM swap fraud is on the rise and has cost businesses hundreds of millions

    8 of dollars ZenKey offers a suite of APIs and event alerts (Trust Services) for Service

    9 Providers to receive on-demand fraud signals and automatic indicators.”120 The

   10 ZenKey Trust Services proposal, as shown in Figure 5 is effectively executing the

   11 same type of real-time SIM swap database check as the data sharing method as

   12 described above.

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   25                                                  Figure 5
   26                      ZenKey’s “Trust Services” offering for financial institutions
   27

   28   119
              https://web.archive.org/web/20210215194125/https://myzenkey.com/trust-services/
        120
              https://myzenkey.com/business-benefits/
                                                   - 46 -
                                         FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 47 of 75 Page ID #:1561



    1         156. ZenKey seeks to charge fees to financial institutions in exchange for doing
    2 real-time checks against carrier databases to verify when a SIM swap (authorized or

    3 not) was last done,121 and its Portal Agreement Terms of Service provides that

    4 “Certain services accessed or available through the [ZenKey] Portal, especially

    5 services for which You [e.g. a bank] are asked to subscribe or pay money, may have

    6 their own terms and conditions, including but not limited to the Service

    7 Agreement.”122 ZenKey has failed to date in the marketplace, and has not yet been

    8 adopted by financial institutions.

    9         157. By not implementing even basic solutions to mitigate, let alone substantially
   10 reduce SIM swap fraud, AT&T maintains a larger revenue opportunity for ZenKey, as

   11 more unauthorized SIM swaps lead to more fraud at banks, which result in a greater

   12 need for banks to pay for and check SIM swap data in real-time. While ZenKey has

   13 failed to date in the marketplace, and has not yet been adopted by financial

   14 institutions, AT&T and its Zenkey partner-competitors continue to invest in it (to date,

   15 they have invested around $200 million), promote it and develop it, rather than

   16 implement simple solutions to broadly prevent unauthorized SIM swaps.

   17 Rather than having easily and expeditiously implemented a data sharing solution in

   18 which AT&T licensed their SIM swap database to third party aggregators (such as

   19 Prove.com123 or TeleSign Corporation124) or directly to financial institutions (such as
   20 Coinbase or Gemini), to enable them to do real-time database checks at the time of a

   21 high-risk transactions (as non-US carriers do113), AT&T focused its efforts developing

   22 ZenKey in collusion with Verizon and T-Mobile in their ill-conceived (and to-date

   23 failed) attempt to more directly profit and control the authentication market

   24 opportunity.

   25
        121
          ZenKey website at https://myzenkey.com/trust-services/
   26   122
          https://portal.myzenkey.com/terms
      123
          The End of Dangerous SIM Swap Fraud is Here: Payfone Extends Real-Time SIM Swap
   27 Detection Algorithms at https://www.payfone.com/press/the-end-of-dangerous-sim-swap-fraud-is-
      here/
   28 124 How TeleSign Protects Transactions from SIM Swap Fraud at
      https://www.telesign.com/blog/how-telesign-protects-transactions-from-sim-swap-fraud
                                                - 47 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 48 of 75 Page ID #:1562



    1      F.        Defendants Are Liable for the Acts of Their Employees,
    2                Representatives and Agents
    3     158. More than 3 years after stipulating to the Consent Decree, AT&T still failed
    4 to protect its customer from employee, representative and agent breaches of customer

    5 CPNI and other account data, virtually identical to the breaches at issue here,

    6 heightening the degree of its negligence.

    7     159. Mr. Shapiro, unlike AT&T, was not in a position to adequately protect
    8 himself from the harms arising from the SIM swap attacks. AT&T, Mr. Shapiro’s

    9 wireless provider, was responsible for safeguarding his account and its involvement

   10 was required for any change in SIM to be effective. Because SIM change requests

   11 were all routed through AT&T, and not through Mr. Shapiro directly, AT&T alone

   12 was positioned to prevent unauthorized SIM changes. It is unreasonable to expect Mr.

   13 Shapiro to be able to fully protect his account when AT&T, the responsible entity,

   14 failed to do so.

   15     160. Additionally, Mr. Shapiro took all of the steps that AT&T advised he take in
   16 order to protect his account—including purchasing a new SIM card and mobile phone

   17 and changing his account passcode—and was repeatedly told by AT&T that such

   18 steps would protect his account from further breaches and SIM swaps. Mr. Shapiro

   19 reasonably relied on these representations.
   20        i. Defendants Are Liable for the Acts of its Employees, Representatives and
   21 Agents.

   22     161. Defendants are liable for the acts of their employees and agents, including
   23 Jack and White, who facilitated the unauthorized access to, and resulting theft from,

   24 Mr. Shapiro.

   25     162. Defendants failed to put in place adequate systems and procedures to prevent
   26 the unauthorized employee, representatives and agents access to and sale of Mr.

   27 Shapiro’s account and related data. AT&T failed to properly hire and supervise its

   28 employees and agents, allowing them to access Mr. Shapiro’s sensitive and
                                             - 48 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 49 of 75 Page ID #:1563



    1 confidential account data, and sell access to his account and that data to third parties.

    2         163. In the context of AT&T’s enterprise as a telecommunications carrier, an
    3 employee, representatives and agents accessing a customer’s account information and

    4 effectuating a SIM swap—even without authorization—is not so unusual or startling

    5 that it would not be unfair to include the loss resulting from such unauthorized access

    6 among other costs of AT&T’s business – particularly in light of AT&T’s awareness of

    7 the risk of SIM swaps to its customers.

    8         164. Further, imposing liability on Defendants may prevent recurrence of SIM
    9 swap behavior because it creates a strong incentive for vigilance and proper

   10 safeguarding of customers’ data by Defendants, particularly AT&T, which is in the

   11 best position to guard substantially against this activity, as it is the custodian and

   12 guardian of this data.

   13         165. As a customer of AT&T, Mr. Shapiro is entitled to rely upon the presumption
   14 that AT&T and the agents entrusted with the performance of AT&T’s business have

   15 faithfully and honestly discharged the duty owed to him by AT&T, and that they

   16 would not knowingly gain unauthorized access to his account in order to aid in

   17 perpetuating a theft from him.

   18         166. The reasonableness of Mr. Shapiro’s expectations that AT&T would
   19 safeguard his data is confirmed by the fact that the federal agency responsible for
   20 overseeing AT&T’s duties to its customers, the FCC, has stated that it “fully expect[s]

   21 carriers to take every reasonable precaution to protect the confidentiality of

   22 proprietary or personal customer information.”125

   23 V. AT&T’s Misrepresentations and Omissions in its Privacy Policy.

   24         167. AT&T’s Privacy Policy, and the “Privacy Commitments” included therein,
   25 falsely represents and fails to disclose material information about its data security

   26 practices.

   27         168. Mr. Shapiro relied on AT&T’s Privacy Policy and related commitments when
   28   125
              2007 CPNI Order ¶ 64.
                                                - 49 -
                                      FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 50 of 75 Page ID #:1564



    1 he chose to open his account with AT&T in approximately 2006.

    2     169. Privacy was important to Mr. Shapiro. Prior to opening his AT&T account,
    3 Mr. Shapiro was employed as the Director of Interactive Production for DIRECTV, a

    4 direct broadcast satellite service provider later acquired by AT&T. In that role, Mr.

    5 Shapiro was directly involved in analyzing privacy policies and consumer data

    6 protections for DIRECTV and other technology and media corporations involved in

    7 doing business with DIRECTV, including Microsoft, TiVo, and others.

    8     170. On information and belief, AT&T’s 2006 Privacy Policy was the operative
    9 policy at the time Mr. Shapiro opened his AT&T account or was substantially similar

   10 to the operative policy upon which he relied at that time. In its 2006 Privacy Policy,

   11 AT&T promised to protect Mr. Shapiro’s privacy and personal information, including

   12 by using security safeguards. AT&T further pledges that it will not sell customer data.

   13     171. These representations created an expectation that Mr. Shapiro’s AT&T
   14 account and associated data would be safe and secure, that employees and agents

   15 would not access his account without authorization or sell access to his account, that

   16 his data would be protected from unauthorized disclosure, and that he could control

   17 how and when his data was accessed.

   18     172. AT&T’s representation that it uses encryption methods and other security
   19 measures and safeguards to protect customer data is false and misleading.
   20     173. As alleged fully above, AT&T allowed its employees and agents to access
   21 Mr. Shapiro’s account, and the CPNI and other sensitive data contained therein,

   22 without his authorization. AT&T’s statement that it would use encryption and other

   23 security measures to protect customers’ data and “protect against unauthorized access

   24 to . . . data, including personal identifying information” is therefore a material

   25 misrepresentation.

   26     174. Upon information and belief, AT&T’s security safeguards were inadequate,
   27 including its system which—upon information and belief—allowed an individual

   28 employee, representative and agent to conduct SIM swaps without adequate oversight,
                                              - 50 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 51 of 75 Page ID #:1565



    1 even when that employee, representative and agent conducted a large number of

    2 unauthorized SIM swaps in a short period of time (as demonstrated in the cases of

    3 White and Jack). This is despite AT&T’s promise to “limit access to personal

    4 identifying information to those employees and agents . . . who need access to such

    5 information to operate, develop, or improve [AT&T’s] services and products.”

    6         175. “Having one employee who can conduct these SIM swaps without any kind
    7 of oversight seems to be the real problem,” says Lieutenant John Rose, a member of

    8 the California-based Regional Enforcement Allied Computer Team (“REACT”), a

    9 multi-jurisdictional law enforcement partnership specializing in cybercrime.126 “And it

   10 seems like [the carriers] could really put a stop to it if there were more checks and

   11 balances to prevent that. It’s still very, very easy to SIM swap, and something has to

   12 be done because it’s just too simple. Someone needs to light a fire under some folks to

   13 get these protections put in place.”127

   14         176. AT&T failed to put in place adequate systems and procedures to prevent the
   15 unauthorized employee access to and sale of Mr. Shapiro’s account and related data.

   16 In connection with subsequent criminal investigations into Mr. Shapiro’s SIM swaps,

   17 AT&T informed law enforcement that it had the capacity to see how many different

   18 SIM cards had been associated with the same single cell phone’s IMEI. In other

   19 words, AT&T could see when one cell phone had multiple SIM cards associated with
   20 it in a short amount of time.128

   21         177. AT&T also informed law enforcement that the hacker involved in Mr.
   22 Shapiro’s SIM swap had requested that 40 different AT&T wireless accounts be

   23 moved onto his phone (identified by its IMEI number) in the months leading up to Mr.

   24 Shapiro’s swap.129 AT&T therefore had the technology to track how many different

   25
        126
          “Busting SIM Swappers and SIM Swap Myths,” KREBSONSECURITY (Nov. 18, 2018),
   26 https://krebsonsecurity.com/2018/11/busting-sim-swappers-and-sim-swap-myths.
      127
          REACT investigative report, (attached hereto as Exhibit I), describes how certain SIM
   27 swap attacks occurred, and includes statements from victims, including Mr. Shapiro, at p. 11-12.
      128
          See Probation Report, California v. Joel Ortiz, No. C-189481 (CA Sup. Ct. Mar. 14, 2019) at
   28 p. 7 (attached hereto as Exhibit H.)
        129
              Id. at 7.
                                                 - 51 -
                                       FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 52 of 75 Page ID #:1566



    1 accounts were being much on to the same telephone, as demonstrated by its ability to

    2 pull this information for law enforcement. Despite its ability to track this highly

    3 suspicious behavior, AT&T failed to use this technology to protect Mr. Shapiro’s

    4 account. If AT&T had proper security safeguards in place, it would have recognized

    5 this behavior, flagged it as suspicious, and prevented any further SIM swaps onto that

    6 phone – thereby protecting Mr. Shapiro.

    7         178. AT&T provided information to law enforcement about how AT&T SIM swap
    8 victims’ AT&T accounts were used while under the control of hackers. This

    9 information clearly showed that hackers were using the AT&T wireless accounts to

   10 attempt to access other personal accounts. AT&T informed law enforcement that,

   11 “During the time the [hacker] controlled several of the [SIM swap] victims’ cell

   12 telephones, all telephones received multiple text messages while no text messages

   13 were sent.”130This was suspicious because it indicated that hackers were receiving

   14 password-reset or two-factor authentication text messages in an attempt to access

   15 victims’ other online accounts, rather than using the AT&T accounts for normal,

   16 legitimate purposes. As described by law enforcement:

   17
                            Based on the volume of text messages the [hacker] received,
   18                       the short time he controlled the [AT&T user] victims’
                            accounts, as well as the majority of text messages
   19                       originating from short code numbers,131 [law enforcement]
                            officers deduced [that] once [the hacker’ gained control of a
   20                       victim’s cell phone account, the [hacker] attempted to log
                            into their other accounts. Police believed the defendant was
   21                       able to do this either by receiving a 2FA [two-factor
                            authentication] text message from individual websites sent
   22                       via text message to the AT&T account controlled by the
                            [hacker], or the specific website text a code allowing the
   23                       [hacker] to reset the passwords on-line.132
   24         179. Therefore, AT&T had the capability to see this behavior and should have
   25 flagged it as suspicious. If AT&T had proper security safeguards in place, it would

   26
        130
              Id.
        131
   27     As described by law enforcement, a “short code number” is “a phone number used strictly to
        send text message and cannot receive voice calls.” Short code numbers are used by businesses to
   28 send users password-reset links or passcodes.
        132
              Ex. H at 9.
                                                     - 52 -
                                           FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 53 of 75 Page ID #:1567



    1 have recognized this behavior, flagged it as suspicious, and prevented any further SIM

    2 swaps onto that phone – thereby protecting Mr. Shapiro.

    3     180. Additionally, as alleged fully above, AT&T failed to establish a consent
    4 mechanism that verified proper authorization before Mr. Shapiro’s data was accessed

    5 and provided to third parties. AT&T’s statement that it would use encryption and

    6 other security safeguards to protect customers’ data is therefore a material

    7 misrepresentation.

    8     181. AT&T’s representation that it will “protect the privacy of [its] customers and
    9 safeguard the privacy of [their] personal identifying information” is false and

   10 misleading.

   11     182. If Mr. Shapiro had known before contracting with AT&T in approximately
   12 2006 that AT&T’s Privacy Policy was false and misleading and that it would not

   13 secure his CPNI, then Mr. Shapiro would have behaved differently— including, but

   14 not limited to, taking additional security measures and precautions such as not linking

   15 applications to his AT&T mobile phone, storing his email accounts on a separate

   16 digital device, or considering another mobile carrier.

   17     183. As alleged fully above, AT&T failed to establish a consent mechanism that
   18 verified proper authorization before Mr. Shapiro’s account and the data therein was

   19 used without his authorization or consent and disclosed to third parties. Mr. Shapiro’s
   20 privacy and personal information was not safe, as demonstrated by the repeated

   21 breaches of his AT&T account. AT&T’s statement that it would protect customers’

   22 privacy and keep their personal information safe is therefore a material

   23 misrepresentation.

   24     184. AT&T’s representation that it will not sell customers’ personal information or
   25 CPNI is false and misleading.

   26     185. As alleged fully above, AT&T employees and agents sold access to Mr.
   27 Shapiro’s AT&T account to third parties. AT&T’s statement that it would not sell

   28 customers’ personal information is therefore a material misrepresentation.
                                             - 53 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 54 of 75 Page ID #:1568



    1         186. AT&T also makes numerous false or misleading representations concerning
    2 its treatment of customers’ data that qualifies as CPNI under the FCA.

    3         187. AT&T explicitly and falsely represents in its Privacy Policy that it does not
    4 “sell, trade or share” customers’ CPNI:

    5
                       We do not sell, trade or share your CPNI – including your
    6                  calling records - with anyone outside of the AT&T family of
                       companies or with anyone not authorized to represent us to
    7                  offer our products or services, or to perform functions on our
                       behalf except as may be required by law or authorized by
    8                  you.133
    9
              188. As alleged fully above, AT&T provided access to Mr. Shapiro’s CPNI to
   10
        third-party hackers. This use was not required by law and was instead prohibited by
   11
        law.
   12
              189. AT&T also states that it only uses CPNI internally and its only disclosed use
   13
        of CPNI is among the AT&T companies and its agents in order to offer its products or
   14
        services.134
   15
              190. AT&T employees and agents’ sale of access to Mr. Shapiro’s account and
   16
        related data as described herein was not for internal AT&T purposes, nor was it used
   17
        to market AT&T services. AT&T’s statements regarding the sale and/or use of
   18
        customer CPNI are therefore material misrepresentations. Its failure to disclose this
   19
        sale of access to CPNI is a material omission.
   20
              191. AT&T also falsely represents that it “implement[s] technology and security
   21
        features, and strict policy guidelines to safeguard the privacy of [customers’] personal
   22
        identifying information,” and that it “will continue to enhance security procedures as
   23
        new technology becomes available.”
   24
              192. As alleged fully above, AT&T and its agents failed to safeguard Mr.
   25
        133
   26     2006 Privacy Policy. “In this policy, the AT&T family of companies means AT&T Inc. and its
      subsidiary and affiliated entities.” “Customer Proprietary Network Information (CPNI),” Ex. A. On
   27 information and belief, AT&T included similar protections in all subsequent privacy policies during
      the duration of Mr. Shapiro’s account.
   28 134 Id.
                                                 - 54 -
                                       FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 55 of 75 Page ID #:1569



    1 Shapiro’s CPNI. Instead, it stored customer CPNI in such a way that unauthorized

    2 access was easily obtained by employees and agents and third parties. AT&T’s

    3 statements regarding the technology and security features it uses to safeguard

    4 customer CPNI are therefore material misrepresentations.

    5     193. After each breach of his account and unauthorized SIM swap, AT&T
    6 repeatedly, and falsely, represented to Mr. Shapiro that his account was safe from

    7 future breaches. In reliance upon these statements, Mr. Shapiro maintained his AT&T

    8 account. AT&T also repeatedly told Mr. Shapiro that the notations made on his

    9 account and the passcode needed to change his SIM card would protect him from

   10 future breaches and SIM swaps. These misrepresentations were false and materially

   11 misleading, as demonstrated by the ongoing breaches to Mr. Shapiro’s account.

   12     194. AT&T was obligated to disclose the weaknesses and failures of its account
   13 and data security practices, as AT&T had exclusive knowledge of material facts not

   14 known or knowable to its customers, AT&T actively concealed these material facts

   15 from Mr. Shapiro, and such disclosures were necessary to materially qualify its

   16 representations that it did not sell and took measures to protect consumer data and to

   17 materially qualify its partial disclosures concerning its use of customers’ CPNI.

   18 Further, AT&T was obligated to disclose its practices under the FCA.

   19     195. A reasonable person would be deceived and misled by AT&T’s
   20 misrepresentations, which clearly indicated that AT&T would not sell, and would in

   21 fact safeguard, its customers’ personal information and CPNI.

   22     196. AT&T intentionally misled Mr. Shapiro regarding its data security practices
   23 in order to maintain his business and evade prosecution for its unlawful acts.

   24     197. AT&T’s representations that it protected customers’ personal information,
   25 when in fact it did not, were false, deceptive, and misleading and therefore a violation

   26 of the FCA.

   27     198. On August 9, 2019, Mr. Shapiro sent written notice via certified mail to
   28 AT&T of his intent to file an action for damages for the claims that follow based the
                                             - 55 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 56 of 75 Page ID #:1570



    1 allegations described herein.

    2

    3 VI. AT&T’s Concealment Of Its Plan To Profit From Unauthorized SIM Swaps

    4   By Not Implementing Basic Security Measures And Instead Developing A For
    5 Profit Solution (ZenKey)

    6     199. Prior to the SIM swap that resulted in the theft of Mr. Shapiro’s funds, AT&T
    7 concealed from him that it had decided to profit from the SIM swap problem rather

    8 than protect its customers from being SIM swapped in the first instance.

    9     200. Since at least June 2016, when the FTC’s Chief Technologist Lorrie Cranor
   10 publicly reported that she was the victim of identity theft when her mobile phone

   11 account was unlawfully hijacked, AT&T has known that remote (over the phone)

   12 unauthorized SIM swaps were a growing problem.

   13     201. Since at least June 2016, AT&T has had the ability to implement low-cost and
   14 readily available security measures that would have prevented SIM swaps, including

   15 the SIM swap of Mr. Shapiro, but intentionally failed and refused to implement them.

   16        202. The basic measures that AT&T could have implemented, but has still
   17 chosen not to, include the following: (i) Sending a text message to the customer’s

   18 phone to verify the request for a remote SIM swap (AT&T send texts to customers for

   19 other purposes); (ii) Sending an email to the customer’s email account to verify the
   20 request for a remote SIM swap; (iii) Comparing the location of the hacker’s phone

   21 and the customer’s phone to verify whether they are in the same place (which AT&T

   22 can easily do and has done routinely for law enforcement); (iv) Implementing voice

   23 biometrics to authenticate customer requests for remote SIM swaps and/or identify

   24 hackers from their voices, who are often known to AT&T from their prior

   25 unauthorized SIM swap call-in attempts (as many financial institutions have done); (v)

   26 Flagging a caller who has used the same device and/or SIM card to request multiple

   27 SIM swaps for different customer (here, the hacker used the same phone to request

   28 SIM swaps for at least twenty different AT&T customer before SIM swapping Mr.
                                            - 56 -
                                  FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 57 of 75 Page ID #:1571



    1 Shapiro); and (vi) Requiring a dedicated call center of highly trained employees to

    2 handle remote SIM swap requests, rather than allowing poorly trained and low-paid

    3 workers at numerous third-party call centers to handle the requests.

    4     203. AT&T has not implemented the foregoing security measures, or some
    5 combination of them, because it has instead invested substantial capital in a venture

    6 called ZenKey that seeks to profit from the SIM swap problem AT&T facilitates.

    7     204. ZenKey’s marketing materials state that the SIM swap problems costs
    8 consumer and financial institutions hundreds of millions of dollars, and that ZenKey is

    9 the solution.

   10     205. ZenKey is a mobile phone app that can be installed by the mobile phone
   11 customer for free, and provides real-time customer data to financial institutions for a

   12 fee, so they can check whether a SIM swap has occurred within a specified time of a

   13 requested financial transaction and either block the transaction or require further

   14 authentication from the customer.

   15     206. In short, through ZenKey, AT&T and its venture partners seek to become the
   16 sole provider of a “post-SIM swap” fraud protection solution for every consumer

   17 financial transaction, rather than solve the pre-SIM swap problem itself which would

   18 eliminate the need for the very fraud protection solution they now market to financial

   19 service providers.
   20     207. AT&T has little to no incentive to prevent the SIM swap problem from
   21 occurring since (i) hackers steal customer identities and funds (from financial

   22 institutions and other online service provider) rather than funds directly at AT&T, and

   23 (ii) AT&T is seeking to profit from the SIM swap problem.

   24     208. Prior to the unauthorized SIM swap of Mr. Shapiro, AT&T’s written
   25 disclosures to its customer state that AT&T had implemented security measures to

   26 protect their mobile phone accounts:

   27        We will keep your information safe using encryption or other
   28        appropriate security controls. (Exh. G, p. 2, Emphasis added).

                                             - 57 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 58 of 75 Page ID #:1572



    1         We've implemented technology and security features and strict policy
              guidelines to safeguard the privacy of your Personal Information. Some
    2
              examples are:
    3
              …Requiring caller/online authentication before providing Account
    4         Information so that only you or someone who knows your Account
    5         Information will be able to access or change the information. (Exh. G.
    6         pp. 25-26).
    7      209. The foregoing written disclosure was misleading, incomplete, and
    8 insufficient, because AT&T had not implemented “appropriate security controls” such

    9 as the basic technology security measures referenced above, particularly as most, if

   10 not all, of the largest financial institutions implement these same technology security

   11 measures as standard practice.

   12
           210. AT&T’s written disclosures also contain a generic disclaimer that states that it
   13
        cannot “guarantee” that “Personal Information” will remain secure because of the risk
   14
        that “third parties” may violate the law or AT&T’s policy:
   15
              Although we strive to keep your Personal Information secure, no security
   16
              measures are perfect, and we cannot guarantee that your Personal
   17         Information will never be disclosed in a manner inconsistent with this
   18         Policy (for example, as the result of unauthorized acts by third parties

   19         that violate the law or this Policy).(Exh. G, p. 26).

   20      211. The foregoing written disclaimer speaks of the acts of third parties, but does
   21 not speak of AT&T’s failure to implement “appropriate security measures” and is

   22 therefore false and grossly misleading.

   23      212. In addition, AT&T failed to disclose that its strategy was to profit from the
   24 unauthorized SIM swap problem through its own for-profit venture ZenKey. At the

   25 time Mr. Shapiro’s ZenKey’s first public announcement of its SIM swap solution was

   26 made on September 18, 2018, months after Mr. Shapiro’s cryptocurrency was stolen

   27 due to an unauthorized SIM swap on May 16, 2018. Therefore: (1) the knowledge of

   28 AT&T's ZenKey profit motive regarding unauthorized SIM swap was exclusive to
                                               - 58 -
                                     FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 59 of 75 Page ID #:1573



    1 AT&T, (2) AT&T had a duty to disclose ZenKey and its profit motive to plaintiff;

    2 and, (3) AT&T concealed the ZenKey venture and profit motive from the plaintiff.

    3     213. Finally, AT&T’s written disclosures did not even refer to the devastating risk
    4 of unauthorized SIM swaps, and instead focus on other potential data breaches,

    5 deflecting any attention away from the problem that was already so well-known to

    6 AT&T.

    7

    8 VI. CLAIMS FOR RELIEF

    9                                         COUNT I
   10       Violations of The Federal Communications Act, 47 U.S.C. § 201 et seq.
   11                                 (Against all Defendants)
   12     214. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
   13 paragraphs as though fully set forth in this cause of action.

   14     215. Defendants have violated 47 U.S.C. § 222(a) by failing to protect the
   15 confidentiality of Mr. Shapiro’s CPNI, as detailed herein.

   16     216. Defendants have violated 47 U.S.C. § 222(c) by using, disclosing, and/or
   17 permitting access to Mr. Shapiro’s CPNI without the notice, consent, and/or legal

   18 authorization required under the FCA, as detailed herein. Defendants also caused

   19 and/or permitted third parties to use, disclose, and/or permit access to Mr. Shapiro’s
   20 CPNI without the notice, consent, and/or legal authorization required under the FCA,

   21 as detailed herein.

   22     217. As fully alleged above, Mr. Shapiro has suffered injury to his person,
   23 property, health, and reputation as a consequence of Defendants’ violations of the

   24 FCA. Additionally, Mr. Shapiro has suffered emotional damages, including severe

   25 anxiety and depression, mental anguish, and suffering as a result of Defendants’ acts

   26 and practices.

   27     218. Mr. Shapiro seeks the full amount of damages sustained as a consequence of
   28 Defendants’ violations of the FCA, together with reasonable attorneys’ fees, to be
                                             - 59 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 60 of 75 Page ID #:1574



    1 fixed by the Court and taxed and collected as part of the costs of the case. Mr. Shapiro

    2 also moves for a writ of injunction or other proper process, mandatory or otherwise, to

    3 restrain Defendants and their officers, agents, or representatives from further

    4 disobedience of the 2007 and 2013 CPNI Orders, or to compel their obedience to the

    5 same.

    6                                        COUNT II
    7      Violations of The California Unfair Competition Law (“UCL”) under the
    8                       Unlawful, Unfair and Fraudulent Prongs,
    9               California Business & Professional Code § 17200 et seq.
   10                                     (Against AT&T)
   11     219. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
   12 paragraphs as though fully set forth in this cause of action.

   13     220. California’s Unfair Competition Law (UCL) prohibits any “unlawful, unfair
   14 or fraudulent business act or practice.” AT&T’s business acts and practices

   15 complained of herein were unlawful, unfair, and fraudulent.

   16     221. AT&T made material misrepresentations and omissions concerning its sale of
   17 access to and safeguarding of Mr. Shapiro’s CPNI. As alleged fully above, a

   18 reasonable person would attach importance to the privacy of his sensitive account data

   19 in determining whether to contract with a wireless cell phone provider.
   20     222. AT&T had a duty to disclose the nature of its inadequate security practices
   21 and failures in hiring, training, and supervising staff. AT&T had exclusive knowledge

   22 of material facts not known or knowable to its customers and it actively concealed

   23 these material facts from its customers.

   24     223. Further, additional disclosures were necessary to materially qualify AT&T’s
   25 representations that it did not sell consumer data and took measures to protect that

   26 data, and its partial disclosures concerning its use of customers’ CPNI. AT&T was

   27 obligated to disclose its practices, as required by the FCA. The magnitude of the harm

   28 suffered by Mr. Shapiro underscores the materiality of AT&T’s omissions.
                                             - 60 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 61 of 75 Page ID #:1575



    1     224. A reasonable person, such as Mr. Shapiro, would be deceived and misled by
    2 AT&T’s misrepresentations, which indicated that AT&T and its agents would not sell,

    3 and would in fact safeguard, its customers’ personal and proprietary information.

    4     225. AT&T intentionally misled AT&T customers regarding its data protection
    5 practices in order to attract customers and evade prosecution for its unlawful acts.

    6 Indeed, AT&T told Mr. Shapiro after each SIM swap attack that his account would be

    7 safe from future breaches, and in reliance on those assurances, Mr. Shapiro did not

    8 close his AT&T wireless account.

    9     226. AT&T’s actions detailed herein constitute an unlawful business act or
   10 practice. As alleged herein, AT&T’s conduct is a violation of the California

   11 constitutional right to privacy, the FCA, and the CLRA.

   12     227. AT&T’s actions detailed herein constitute an unfair business act or practice.
   13     228. AT&T’s conduct lacks reasonable and legitimate justification in that Mr.
   14 Shapiro has been misled as to the nature and integrity of its goods and services and

   15 has suffered injury as a result.

   16     229. The gravity of the harm caused by AT&T’s ’practices far outweigh the utility
   17 of its conduct. AT&T’s practices were contrary to the letter and spirit of the FCA and

   18 its corresponding regulations, which require cell carriers to disclose customers’ CPNI

   19 only upon proper notice, consent, and authorization, and aims to vest carrier
   20 customers with control over their data. Due to the surreptitious nature of AT&T’s

   21 actions, Mr. Shapiro could not have reasonably avoided the harms incurred as a result.

   22     230. As the FCA establishes, it is against public policy to allow carrier employees
   23 and agents or other third parties to access, use, or disclose telecommunications

   24 customers’ sensitive account information. The effects of AT&T’s conduct are

   25 comparable to or the same as a violation of the FCA.

   26     231. AT&T’s’ actions detailed herein constitute a fraudulent business act or
   27 practice.

   28     232. As established herein, Mr. Shapiro has suffered economic harm as a result of
                                              - 61 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 62 of 75 Page ID #:1576



    1 AT&T’s unfair competition. Additionally, had AT&T disclosed the true nature and

    2 extent of its data security and protection practices—and the flaws inherent in its

    3 systems—and its unwillingness to properly protect its customers, Mr. Shapiro would

    4 not have subscribed to or paid as much money for AT&T’s ’wireless services.

    5     233. Mr. Shapiro seeks injunctive and declaratory relief for AT&T’s violations of
    6 the UCL. Mr. Shapiro seeks public injunctive relief against AT&T’s unfair and

    7 unlawful practices in order to protect the public and restore to the parties in interest

    8 money or property taken as a result of AT&T’s unfair competition. Mr. Shapiro seeks

    9 a mandatory cessation of AT&T’s practices.

   10                                        COUNT III
   11              Violations of the California Constitutional Right to Privacy
   12                                 (Against all Defendants)
   13     234. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
   14 though fully set forth in this cause of action.

   15     235. The California Constitution declares that, “All people are by nature free and
   16 independent and have inalienable rights. Among these are enjoying and defending life

   17 and liberty, acquiring, possessing, and protecting property, and pursuing and obtaining

   18 safety, happiness, and privacy.” Cal. Const. Art. I, § 1.

   19     236. Mr. Shapiro has a reasonable expectation of privacy in his mobile device and
   20 his AT&T account information. Mr. Shapiro reasonably expected that Defendants

   21 would not access or divulge his CPNI without authorization in light of AT&T policies

   22 and legal protections afforded to CPNI. Even before being SIM swapped, Mr. Shapiro

   23 had a five digit pincode for his account that Defendants assured him would protect his

   24 account from unauthorized changes. Mr. Shapiro received verbal assurances from

   25 AT&T employees and agents that his account would be protected from additional SIM

   26 swaps after the first occurrence.

   27     237. Defendants intentionally intruded on and into Mr. Shapiro’s solitude,
   28 seclusion, or private affairs by allowing its employees and agents and third parties to
                                              - 62 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 63 of 75 Page ID #:1577



    1 improperly access Mr. Shapiro’s confidential CPNI without his permission. The

    2 sensitivity of Mr. Shapiro’s CPNI is evidenced by its use to impersonate Mr. Shapiro

    3 and intercept the contents of his private text messages and the contents of his email

    4 accounts, financial accounts, and other accounts secured by private passwords.

    5     238. Mr. Shapiro had a reasonable expectation of privacy not only in his CPNI but
    6 also in his online accounts that were accessed through use of his CPNI. Mr. Shapiro

    7 had a passcode on his iPhone that protected the content of his text messages;

    8 passwords on his email accounts that protected the content of his private email

    9 correspondence with his spouse, family members, friends, and business associates;

   10 passwords on his private notetaking application where he stored personal and

   11 professional confidential information; and passwords on his financial accounts that

   12 revealed his personal financial transactions, account balances, and business activities.

   13     239. The reasonableness of Mr. Shapiro’s expectations of privacy is supported by
   14 Defendants’ unique position to safeguard his account data, including the sensitive and

   15 confidential information contained therein, and protect Mr. Shapiro from SIM swap

   16 attacks.

   17     240. Defendants’ intrusions into Mr. Shapiro’s privacy are highly offensive to a
   18 reasonable person. This is evidenced by federal legislation enacted by Congress and

   19 rules promulgated and enforcement actions undertaken by the FCC aimed at
   20 protecting AT&T customers’ sensitive account data from unauthorized use or access.

   21 The offensiveness of the intrusion into Mr. Shapiro’s privacy was heightened by the

   22 motives of AT&T employees and agents who sold access to Mr. Shapiro’s mobile

   23 phone number and private data to hackers for criminal purposes.

   24     241. The offensiveness of AT&T’s conduct is also heightened by its material
   25 misrepresentations to Mr. Shapiro concerning the safety and security of his account.

   26     242. Mr. Shapiro suffered great personal and financial harm by the intrusion into
   27 his private affairs, as detailed throughout this Complaint.

   28     243. Defendants’ actions and conduct complained of herein were a substantial
                                             - 63 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 64 of 75 Page ID #:1578



    1 factor in causing the harm suffered by Mr. Shapiro. But for AT&T employees and

    2 agents’ involvement in a conspiracy to rob Mr. Shapiro and Defendants’ subsequent

    3 failure to protect Mr. Shapiro from harm through adequate security and oversight

    4 systems and procedures, Mr. Shapiro would not have had his personal privacy

    5 repeatedly violated and would not have been a victim of SIM swap theft.

    6     244. As a result of Defendants’ actions, Mr. Shapiro seeks nominal and punitive
    7 damages in an amount to be determined at trial. Mr. Shapiro seeks punitive damages

    8 because Defendants’ actions were malicious, oppressive, and willful. Defendants

    9 knew or should have known about the risks faced by Mr. Shapiro, and the grave

   10 consequences of such risks. Nonetheless, Defendants utterly failed to protect Mr.

   11 Shapiro, and allowed employees and agents to profit to his detriment. Punitive

   12 damages are warranted to deter Defendants from engaging in future misconduct.

   13                                        COUNT IV
   14                                         Negligence
   15                                 (Against all Defendants)
   16     245. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
   17 though fully set forth in this cause of action.

   18     246. Defendants owed a duty to Mr. Shapiro—arising from the sensitivity of his
   19 AT&T account information and the foreseeability of harm to Mr. Shapiro should
   20 AT&T fail to safeguard and protect such data—to exercise reasonable care in

   21 safeguarding his sensitive personal information. This duty included, among other

   22 things, designing, maintaining, monitoring, and testing AT&T’s and its agents’,

   23 partners’, and independent contractors’ systems, protocols, and practices to ensure,

   24 that Mr. Shapiro’s information was adequately secured from unauthorized access.

   25     247. Federal law and regulations, as well as AT&T’s privacy policy, acknowledge
   26 AT&T’s duty to adequately protect Mr. Shapiro’s confidential account information.

   27     248. Defendants owed a duty to Mr. Shapiro to protect his sensitive account data
   28 from unauthorized use, access, or disclosure. This included a duty to ensure that his
                                              - 64 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 65 of 75 Page ID #:1579



    1 CPNI was only used, accessed, or disclosed with proper consent.

    2     249. Defendants owed a duty to Mr. Shapiro to implement a system to safeguard
    3 against and detect unauthorized access to Mr. Shapiro’s AT&T data in a timely

    4 manner.

    5     250. Defendants owed a duty to Mr. Shapiro to disclose the material fact that its
    6 data security practices were inadequate to safeguard Mr. Shapiro’s AT&T account

    7 data from unauthorized access by its own employees and agents and others.

    8     251. Defendants had a special relationship with Mr. Shapiro due to their status as
    9 his telecommunications carrier and its agents, which provided an independent duty of

   10 care. Defendants had the unique ability to protect their systems and the data accessed

   11 thereby or stored thereon from unauthorized access.

   12     252. Mr. Shapiro’s willingness to contract with AT&T, and thereby entrust AT&T
   13 with his confidential and sensitive account data, was predicated on the understanding

   14 that AT&T would undertake adequate security and consent precautions.

   15     253. Defendants breached their duties by, inter alia: (a) failing to implement and
   16 maintain adequate security practices to safeguard Mr. Shapiro’s AT&T account and

   17 data—including his CPNI—from unauthorized access, as detailed herein; (b) failing to

   18 detect unauthorized access in a timely manner; (c) failing to disclose that AT&T’s

   19 data security practices were inadequate to safeguard Mr. Shapiro’s data; (d) failing to
   20 properly hire, train and supervise their employees and agents and prevent employees

   21 and agents from accessing and utilizing Mr. Shapiro’s AT&T account and data

   22 without authorization; and (e) failing to provide adequate and timely notice of

   23 unauthorized access.

   24     254. Defendants were also negligent in their authorization of Mr. Shapiro’s SIM
   25 card swap. Defendants Synchronoss and AT&T knew or should have known that at

   26 least forty different AT&T numbers had been moved to the same cell phone

   27 (identified by its IMEI) in the months leading up to Mr. Shapiro’s first SIM swap,

   28 knew or should have known that this was highly suspicious, but nevertheless,
                                             - 65 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 66 of 75 Page ID #:1580



    1 effectuated the transfer of Mr. Shapiro’s AT&T account to this same cell phone.

    2 AT&T had the technical capacity to track this behavior—as reflected in its willingness

    3 to do so for law enforcement—but nonetheless failed to utilize it for the benefit and

    4 protection of Mr. Shapiro.

    5     255. But for Defendants breaches of their duties, Mr. Shapiro’s data would not
    6 have been accessed by unauthorized individuals.

    7     256. Mr. Shapiro was a foreseeable victim of AT&T’s inadequate data security
    8 practices and consent mechanisms. As alleged fully above, Defendants knew or

    9 should have known that SIM swaps presented a serious threat to its customers,

   10 including Mr. Shapiro, before Mr. Shapiro’s account was breached for the first time.

   11 AT&T also knew or should have known that Mr. Shapiro was at a heightened risk

   12 after (1) he informed AT&T employees and agents that he had digital currency

   13 accounts, a risk factor AT&T has acknowledged, and (2) he had previously been the

   14 target of SIM swap attacks. Defendants also knew that improper procedures and

   15 systems to safeguard customer data could allow its employees and agents to authorize

   16 customers’ accounts and data and sell that to third parties, as occurred in the 2015

   17 FCC enforcement action.

   18     257. Defendants knew or should have known that unauthorized accesses would
   19 cause damage to Mr. Shapiro. AT&T admitted that unauthorized account access
   20 presents a significant threat to its customers, and became aware during its 2015 FCC

   21 enforcement action of the harms caused by unauthorized account access.

   22     258. Defendants’ negligent conduct provided a means for unauthorized individuals
   23 to access Mr. Shapiro’s AT&T account data, take over control of his wireless phone,

   24 and use such access to hack into numerous online accounts in order to rob Mr. Shapiro

   25 and steal his personal information.

   26     259. As a result of Defendants’ failure to prevent unauthorized accesses, Mr.
   27 Shapiro suffered grave injury, as detailed herein, including severe emotional distress.

   28 This emotional distress arose out of Defendants’ breach of their legal duties. The
                                             - 66 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 67 of 75 Page ID #:1581



    1 damages Mr. Shapiro suffered were a proximate, reasonably foreseeable result of such

    2 breaches of its duties. Therefore, Mr. Shapiro is entitled to damages in an amount to

    3 be proven at trial.

    4     260. The injury and harm suffered by Mr. Shapiro was the reasonably foreseeable
    5 result of Defendants’ failure to exercise reasonable care in safeguarding and

    6 protecting Mr. Shapiro’s Personal Information, including his CPI and CPNI.

    7 Defendants’ misconduct as alleged herein is malice, fraud or oppression under Civil

    8 Code § 3294(c)(1) and (2) in that it was despicable conduct carried on by Defendants

    9 with a willful and conscious disregard of the rights or safety of Mr. Shapiro and

   10 despicable conduct that has subjected Mr. Shapiro to cruel and unjust hardship in

   11 conscious disregard of his rights. As a result, Mr. Shapiro is entitled to punitive

   12 damages against Defendants under Civil Code § 3294(a). Mr. Shapiro further alleges

   13 on information and belief that Bill O’Hern, who has been in charge of security at

   14 AT&T since 2016, and David S. Huntley, who has been in charge of privacy, had

   15 advance knowledge of the inadequacies of AT&T’s security, the participation of

   16 AT&T employees in evading or bypassing security, and they committed or ratified the

   17 acts of oppression, fraud or malice alleged herein.

   18                                         COUNT V
   19                         Negligent Supervision and Entrustment
   20                                 (Against all Defendants)
   21     261. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
   22 though fully set forth in this cause of action.

   23     262. Defendants conduct their business activities through employees and agents or
   24 other agents.

   25     263. Defendants are liable for harm resulting from its agents’ and employees and
   26 agents’ conduct because they were reckless or negligent in employing and/or

   27 entrusting employees and agents—including, but not limited to, White and Jack—in

   28 work involving the risk of harm to others, including Mr. Shapiro.
                                              - 67 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 68 of 75 Page ID #:1582



    1    264. As alleged herein, Defendants knew or had reason to believe that their
    2 employees and agents were unfit and nonetheless failed to exercise reasonable care in

    3 properly investigating. Defendants were negligent in supervising their employees and

    4 agents and in entrusting them with what they knew to be highly sensitive confidential

    5 information. Defendants knew or had reason to know that their employees and agents

    6 were likely to harm others in view of the work AT&T entrusted to them.

    7    265. As alleged by law enforcement, White conducted 29 unauthorized SIM swaps
    8 and Jack conducted 12 swaps in the same month of Mr. Shapiro’s first two SIM

    9 swaps. Nonetheless, on information and belief, AT&T failed to take appropriate action

   10 to prevent additional harm to its customers, including Mr. Shapiro. Additionally,

   11 AT&T was aware that Jack and White had the ability to access its customers’

   12 accounts, including Mr. Shapiro’s account, and conduct SIM swaps, even without

   13 proper customer authorization. Nonetheless, AT&T failed to put any additional

   14 protections on customer accounts to prevent such swaps.

   15    266. Upon information and belief, Defendants failed to exercise due care in
   16 selecting their employees and agents, and thereby negligently or reckless employed

   17 them to do acts—including accessing customer accounts and effectuating SIM

   18 swaps—which necessarily brought them in contact with others, including Mr. Shapiro,

   19 while in the performance of those duties.
   20    267. Defendants’ acts, as alleged herein, were negligent in that they permitted
   21 unauthorized account access and SIM swapping. These particular risks and hazards

   22 that Mr. Shapiro was exposed to are tied to Defendants’ negligence and recklessness

   23 in employing, and continuing to employee through the time of Mr. Shapiro’s injuries

   24 the representatives and agents who participated in the unauthorized SIM swaps.

   25    268. Defendants also failed to properly supervise their employees and agents, and
   26 instead continued to negligently entrust them with sensitive customer data. For

   27 example, had Defendants fired Jack and White when they first began to exhibit

   28 suspicious SIM swap activity—including but not limited to an irregularly high number
                                            - 68 -
                                  FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 69 of 75 Page ID #:1583



    1 of SIM swaps in a short period of time—Mr. Shapiro would not have been injured.

    2     269. In addition, had AT&T built a system to effectively authenticate and verify
    3 consumer consent before allowing employees and agents to access their CPNI—as

    4 required by the FCA—Mr. Shapiro would not have been injured.

    5     270. Had Defendants prevented individual employees and agents from unilaterally
    6 changing customer’s SIM swaps without proper oversight, Mr. Shapiro would not

    7 have been injured.

    8     271. In sum, Defendants gave their employees and agents the tools and
    9 opportunities they needed to gain unauthorized access to Mr. Shapiro’s account and

   10 failed to prevent them from doing so, thereby allowing them to use AT&T’s systems

   11 to perpetuate privacy breaches and thefts against Mr. Shapiro.

   12     272. The actions of the representatives and agents who initiated the unauthorized
   13 SIM swaps on behalf of Defendants have a causal nexus to their employment. Mr.

   14 Shapiro’s injuries arose out of his contract with AT&T as his carrier, and Defendants’

   15 resulting access to his CPNI and account data. The risk of injury to Mr. Shapiro was

   16 inherent in Defendants’ working environment.

   17     273. Mr. Shapiro’s injury was also foreseeable. As alleged fully above, Defendants
   18 were aware of the risks that SIM swaps presented to their customers. Defendants were

   19 also aware that their customers’ accounts were vulnerable to unauthorized access to
   20 and sale by their own employees and agents, as demonstrated in the 2015 FCC

   21 enforcement action. Defendants were aware that Mr. Shapiro was at a heightened risk

   22 due to his possession of cryptocurrency and the previous unauthorized SIM swaps

   23 conducted in his AT&T account. Nonetheless, Defendants failed to take appropriate

   24 steps to protect Mr. Shapiro, in violation of its duty.

   25     274. The injury and harm suffered by Mr. Shapiro was the reasonably foreseeable
   26 result of Defendants’ failure to exercise reasonable care in safeguarding and

   27 protecting Mr. Shapiro’s Personal Information, including his CPI and CPNI. AT&T’s

   28 misconduct as alleged herein is malice, fraud or oppression under Civil Code §
                                              - 69 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 70 of 75 Page ID #:1584



    1 3294(c)(1) and (2) in that it was despicable conduct carried on by AT&T with a

    2 willful and conscious disregard of the rights or safety of Mr. Shapiro and despicable

    3 conduct that has subjected Mr. Shapiro to cruel and unjust hardship in conscious

    4 disregard of his rights. As a result, Mr. Shapiro is entitled to punitive damages against

    5 AT&T under Civil Code § 3294(a). Mr. Shapiro further alleges on information and

    6 belief that Bill O’Hern, who has been in charge of security at AT&T since 2016, and

    7 David S. Huntley, who has been in charge of privacy, had advance knowledge of the

    8 inadequacies of AT&T’s security, the participation of AT&T employees in evading or

    9 bypassing security, and they committed or ratified the acts of oppression, fraud or

   10 malice alleged herein.

   11                                         COUNT VI
   12                                        Concealment
   13                                      (Against AT&T)
   14     275. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
   15 though fully set forth in this cause of action.

   16     276. AT&T had a duty to disclose to its customers, including Mr. Shapiro, that it
   17 had decided to not implement basic security measures to prevent unauthorized SIM

   18 swaps because it wanted to profit from the the very SIM swap problem it facilitated

   19 through its creation of and ownership in the ZenKey venture which was being
   20 marketed to financial institutions as a solution to fraud at financial institutions after an

   21 unauthorized SIM swap has occurred at AT&T, rather than take reasonable measures

   22 to eliminate the likelihood of unauthorized SIM swap before they occur at AT&T.

   23 AT&T had exclusive knowledge of the foregoing business strategy and did not

   24 disclose any part of the strategy to its customers including Mr. Shapiro. Indeed,

   25 AT&T’s first public disclosure of the ZenKey initiative was made on September 9,

   26 2018, which was months after Mr. Shapiro’s funds had already been stolen as a result

   27 of the unauthorized SIM swap on May 16, 2018. In addition, AT&T had a duty to

   28 disclose that it was not implementing readily available security measures in order to
                                              - 70 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 71 of 75 Page ID #:1585



    1 make its representations to customers in its Privacy Policy, “We will keep your

    2 information safe using encryption or other appropriate security controls,” not

    3 misleading.

    4     277. AT&T’s generic disclosure in a small bullet point on page 26 of its Privacy
    5 Policy that “no security measures are perfect, and we cannot guarantee that your

    6 Personal Information will never be disclosed in a manner inconsistent with this Policy

    7 (for example, as the result of unauthorized acts by third parties that violate the law or

    8 this Policy)” did not disclose that AT&T had failed to implement basic security

    9 measures to protect against unauthorized SIM swaps and instead focused solely on the

   10 disclosure of Personal Information to third parties (rather than giving access to

   11 customers’ phones) based on the third parties’ “unauthorized acts.” In fact, AT&T did

   12 not disclose any of its of its own shortcomings or its years-in-the making intent to

   13 profit from the unauthorized SIM swap problem rather than fix it.

   14     278. Mr. Shapiro was unaware that AT&T had failed to implement basic security
   15 measures to prevent unauthorized SIM swaps and instead had implemented a plan to

   16 profit from the problem. Immediately after the first unauthorized SIM swap on May

   17 16, 2018, an AT&T representative reassured Mr. Shapiro that his mobile phone

   18 service would not be hacked again due to an unauthorized SIM swap because they had

   19 placed a note on his account. At this time, AT&T again failed to disclose that Mr.
   20 Shapiro was vulnerable to another unauthorized SIM swap because AT&T had failed

   21 to implement readily available, basic security measures to prevent a repeat occurrence.

   22     279. Mr. Shapiro reasonably relied on AT&T’s reassurances and failures to
   23 disclose. Had AT&T properly and adequately disclosed the true facts, Mr. Shapiro

   24 would have either cancelled his AT&T service or taken measures to protect his

   25 cryptocurrency from the risk of additional unauthorized SIM swaps such as storing his

   26 digital assets in a cold wallet that was not accessible from his mobile phone.

   27     280. AT&T’s actions are “deceit” under Cal. Civ. Code § 1710 in that they are the
   28 suppression of a fact by one who is bound to disclose it, or who gives information of
                                              - 71 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 72 of 75 Page ID #:1586



    1 other facts which are likely to mislead for want of communication of that fact.

    2 Because of the deceit by AT&T, it is liable under Cal. Civ. Code§ 1709 for “any

    3 damage which [Mr. Shapiro] thereby suffers.”

    4     281. As a result of AT&T’s failure to make adequate disclosures, Mr. Shapiro
    5 sustained an unauthorized SIM swap and suffered the loss of funds of at least $1.9

    6 million at the time, and valued much higher today because of the increase in

    7 cryptocurrency values. Mr. Shapiro’s Personal Information is now easily available to

    8 hackers, including through the Dark Web. Mr. Shapiro is further damaged to the

    9 extent of the amounts that he has paid AT&T for wireless services, because those

   10 services were either worth nothing or worth less than was paid for them because of

   11 AT&T’s lack of security. Mr. Shapiro has also suffered substantial out-of-pocket costs

   12 because of AT&T’s inadequate security

   13     282. Mr. Shapiro is entitled to punitive damages under Civil Code § 3294(a)
   14 because AT&T acted with fraud, oppression or malice. Mr. Shapiro further alleges on

   15 information and belief that Bill O’Hern, who has been in charge of security at AT&T

   16 since 2016, and David S. Huntley, who has been in charge of privacy, had advance

   17 knowledge of the gross inadequacies of AT&T’s security, the participation of AT&T

   18 employees in evading or bypassing security, and of AT&T’s active development of

   19 AT&T’s for-profit ZenKey service, and they committed or ratified the acts of
   20 oppression, fraud or malice alleged herein. Indeed, upon information and belief, Mr.

   21 O’Hern is on ZenKey’s board of directors.

   22                                        COUNT VII
   23                              Intentional Misrepresentation
   24                                     (Against AT&T)
   25     283. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
   26 though fully set forth in this cause of action.

   27     284. After the first unauthorized SIM swap of May 16, 2018, Mr. Shapiro called
   28 AT&T to restore his mobile phone service, and AT&T informed him that his mobile
                                              - 72 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 73 of 75 Page ID #:1587



    1 phone service was safe and that he was protected from a potential future unauthorized

    2 SIM swap because a note had been placed on his account.

    3     285. The foregoing representation by AT&T was false. AT&T knew that the
    4 representation was false, or made the representation recklessly without regard for its

    5 truth, because AT&T had not implemented basic security measures to protect against

    6 unauthorized SIM swaps.

    7     286. AT&T intended for Mr. Shapiro to rely on the representation that his account
    8 was safe and protected against future unauthorized SIM swaps.

    9     287. Mr. Shapiro reasonable relied on AT&T’s representations.
   10     288. As a result if his reliance. Mr. Shapiro was harmed because he suffered the
   11 loss of funds of at least $1.9 million at the time (valued much higher today because of

   12 the increase in cryptocurrency values), his Personal Information is now easily

   13 available to hackers on the Dark Web, he paid AT&T for wireless services that were

   14 either worth nothing or worth less than was paid for them because of AT&T’s lack of

   15 security, and suffered substantial out-of-pocket costs because of AT&T’s inadequate

   16 security.

   17     289. Mr. Shapiro is entitled to punitive damages under Civil Code § 3294(a)
   18 because AT&T acted with fraud, oppression or malice. Mr. Shapiro further alleges on

   19 information and belief that AT&T Chief Security Officer Bill O’Hern, who has been
   20 in charge of security at AT&T since 2016 and is on ZenKey’s board of directors, and

   21 David S. Huntley, who has been in charge of compliance, had advance knowledge of

   22 the inadequacies of AT&T’s security, the participation of AT&T employees in

   23 evading or bypassing security, and of AT&T’s active development of AT&T’s for-

   24 profit ZenKey service, and they committed or ratified the acts of oppression, fraud or

   25 malice alleged herein.

   26                                      COUNT VIII
   27                   Violation of the Computer Fraud and Abuse Act
   28                                    18 U.S.C. § 1030
                                             - 73 -
                                   FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 74 of 75 Page ID #:1588



    1                                 (Against all Defendants)
    2     290. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
    3 though fully set forth in this cause of action.

    4     291. Mr. Shapiro’s mobile device is capable of connecting to the Internet.
    5     292. Defendants’ employees, representatives and agents, in the scope of their
    6 employment, intentionally accessed Mr. Shapiro’s mobile device, and assisted others

    7 in accessing his mobile device, without Mr. Shapiro’s authorization, in order to assist

    8 hackers in their theft from Mr. Shapiro.

    9     293. Defendants’ employees, representatives and agents, took these actions
   10 knowing that they could or would cause damage to Mr. Shapiro’s mobile device, as

   11 well as damage to the information located on his mobile device.

   12     294. Defendants’ employees, representatives and agents, caused Mr. Shapiro’s
   13 mobile device and much of the data on it to be unusable to him.

   14     295. Because of the Defendants’ employees’ actions, Mr. Shapiro suffered damage
   15 to his mobile device and damage to information on his mobile device, including being

   16 unable to access information and data on his mobile device and being unable to access

   17 his personal accounts, including his personal (e.g. Evernote and G-mail) and financial

   18 (e.g. cryptocurrency and PayPal) accounts.

   19     296. The act of swapping Mr. Shapiro’s AT&T wireless SIM card was in the scope
   20 of the Defendants’ employees’ work.

   21     297. Further, Mr. Shapiro spent in excess of $5,000 investigating who accessed his
   22 mobile device and damaged information on it.

   23 VII. PRAYER FOR RELIEF

   24        WHEREFORE, Plaintiff Seth Shapiro requests that judgment be entered against
   25 Defendant and that the Court grant the following:

   26        A. Judgment against Defendant for Plaintiff’s asserted causes of action;
   27        B. Public injunctive relief requiring cessation of Defendants’ acts and practices
   28 complained of herein pursuant to, inter alia, Cal. Bus. & Prof. Code § 17200, 47
                                              - 74 -
                                    FOURTH AMENDED COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 74 Filed 08/06/21 Page 75 of 75 Page ID #:1589



    1 U.S.C. § 401(b), and Cal. Civ. Code § 1780;

    2        C. Pre- and post-judgment interest, as allowed by law;
    3        D. An award of monetary damages, including punitive damages, as allowed by
    4 law;

    5        E. Reasonable attorneys’ fees and costs reasonably incurred, including but not
    6 limited to attorneys’ fees and costs pursuant to 47 U.S.C. § 206; and

    7        F. Any and all other and further relief to which Plaintiff may be entitled.
    8

    9                              DEMAND FOR JURY TRIAL
   10        Plaintiff demands a trial by jury of all issues so triable.
   11

   12 Dated: August 6, 2021                    AFFELD GRIVAKES LLP
   13
                                               By: Christopher Grivakes
   14                                              _____________________________
                                                   Christopher Grivakes
   15
                                               Attorney for SETH SHAPIRO
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                                              - 75 -
                                    FOURTH AMENDED COMPLAINT
